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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA                            *
                                                     *
                v.                                   *
                                                     *
                                                             Criminal No. 15-cr-10076-ADB
                                                     *
 WILLIAM FACTEAU and
                                                     *
 PATRICK FABIAN,
                                                     *
                                                     *
                Defendants.                          *
                                                     *


             MEMORANDUM AND ORDER DENYING MOTION FOR
         JUDGMENT OF ACQUITTAL, OR ALTERNATIVELY, A NEW TRIAL
BURROUGHS, D.J.

       On July 20, 2016, a jury found William Facteau (“Facteau”) and Patrick Fabian

(“Fabian”) (collectively, “Defendants”) guilty of misdemeanor adulteration and misbranding of a

medical device, and acquitted the Defendants of all other charges, including felony misbranding,

conspiracy, and wire fraud. [ECF No. 432]. Currently before the Court is Defendants’ post-trial

motion for acquittal or a new trial, [ECF No. 437], which the government opposes, [ECF No.

497]. As no doubt evidenced by the time it has taken to resolve this motion, the Court finds the

issues raised in these pleadings and at trial challenging. There is also a First Amendment overlay

that further complicates the analysis. It seems clear that the statutory and regulatory scheme

needs to be rethought. Currently there is no statute that specifically prohibits off-label marketing

and yet the Government continues to prosecute the conduct by patching together the misbranding

and adulteration regulations, thereby criminalizing conduct that it is not entirely clear Congress

intended to criminalize. There are certainly important public policy considerations that warrant

regulating the healthcare industry. At the same time, however, where a conviction can result in

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exclusion from healthcare programs, likely a death knell for any company, it is also important for

the regulatory and law enforcement regime to clearly spell out what is and is not prohibited

conduct. That being said, given the facts of this case, including the acquittals on all of the felony

charges, for the reasons set forth below, the motion for judgment of acquittal and a new trial,

[ECF No. 437], is DENIED.

I.       BACKGROUND

         A.     Relevant Procedural History

         On April 8, 2015, a grand jury returned an eighteen-count Indictment against Defendants.

[ECF No. 1 (“Indictment”)]. All of the charges in the Indictment related to the sale of a medical

device known as the Stratus Microflow Spacer (“Stratus”), which was sold by Acclarent, Inc.

(“Acclarent”), the Defendants’ former employer. See [id. ¶¶ 1–2, 5].

         The Indictment charged Defendants with:

     •   One count of conspiracy to commit securities fraud and the offenses of adulteration and
         misbranding, in violation of 18 U.S.C. § 371 (Count 1);
     •   Three counts of securities fraud in violation of 15 U.S.C. §§ 78j(b), 78ff(a) and 17 C.F.R.
         § 240.10b-5 (Counts 2–4);
     •   Four counts of wire fraud and attempted wire fraud in violation of 18 U.S.C. §§ 1343,
         1349 (Counts 5–8);
     •   Five counts of distributing an adulterated device into interstate commerce in violation of
         21 U.S.C. §§ 331(a), 333(a)(1)–(2), 351(f)(1)(B) (Counts 9–13); and
     •   Five counts of introducing a misbranded device into interstate commerce in violation of
         21 U.S.C. §§ 331(a), 333(a)(1)–(2), 352(a), 352(f), 352(o) (Counts 14–18).

See [Indictment]. Each of the adulteration and misbranding counts was charged as a felony and

a misdemeanor. See [id.]. Shortly before the trial began, the Government dismissed Counts 2–4

and Count 8 of the Indictment, all of which related to securities fraud.

         The case was tried to a jury in a twenty-seven-day trial that began on June 6, 2016. [ECF

No. 364]. The jury returned its verdict on July 20, 2016, after approximately two and a half days


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of deliberations. [ECF No. 432]. The jury acquitted the Defendants on Count 1 (conspiracy) and

Counts 5–7 (wire fraud). [Id.]. As to Counts 9–13, which charged both felony and misdemeanor

adulteration, and Counts 14–18, which charged both felony and misdemeanor misbranding, the

jury acquitted Defendants on all of the felony counts but convicted on all of the misdemeanor

counts. [Id.]. With regard to the misbranding convictions, the Indictment alleged three types of

misbranding: false and misleading labeling; lack of adequate directions for use; and lack of

required premarket notification for intended use. [Indictment ¶ 144]. The jury found that the

Government had proven lack of required premarket notification for intended use but found the

other two theories of misbranding not proven. [ECF No. 432].

       Defendants filed a motion for a judgment of acquittal or new trial on August 1, 2016,

[ECF No. 437], and filed a memorandum in support of the motion on August 31, 2016, [ECF No.

484]. The Government filed its opposition on September 30, 2016. [ECF No. 497]. Defendants

filed a reply on October 17, 2016, [ECF No. 501], and the Government filed a sur-reply on

November 22, 2016, [ECF No. 506].

       B.      Regulatory Framework

       Under the Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq. (“FDCA” or “the

Act”), certain medical “devices” cannot be introduced into interstate commerce without the prior

approval of the Food and Drug Administration (“FDA”). 21 U.S.C. § 331. The FDCA, as

amended by the Medical Device Amendments of 1976, classifies medical devices into three

categories “based on the risk that they pose to the public.” Medtronic, Inc. v. Lohr, 518 U.S.

470, 476 (1996) (citing 90 Stat. 539). “Devices that present no unreasonable risk of illness or

injury are designated Class I and are subject only to minimal regulation by ‘general controls.’”

Id. at 476–77. “Devices that are potentially more harmful are designated Class II; although they



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may be marketed without advance approval, manufacturers of such devices must comply with

federal performance regulations known as ‘special controls.’” Id. at 477. “Finally, devices that

either ‘presen[t] a potential unreasonable risk of illness or injury,’ or which are ‘purported or

represented to be for a use in supporting or sustaining human life or for a use which is of

substantial importance in preventing impairment of human health,’ are designated Class III.” Id.

(alteration in original) (internal citations omitted) (quoting 21 U.S.C. § 360(a)(1)(A–C)). “Class

III devices must complete a thorough review process with the FDA before they may be

marketed.” Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 343 (2001). In this case, it

was not disputed that the Stratus was a Class III device.

       The FDCA and its implementing regulations also establish processes by which a device

manufacturer must obtain FDA approval. With certain exceptions, a medical device may not be

introduced into interstate commerce unless it has either an FDA-approved premarket application

(a “PMA”) or, alternatively, a “510(k) clearance.” 21 CFR §§ 814, 807.92. A PMA approval

means that a device has been approved by the FDA based upon a lengthy application and

evaluation process, through which the manufacturer must demonstrate that the device is safe and

effective when used in accordance with its labeling. 21 CFR § 814.44. In contrast, a 510(k)

clearance means that the FDA has approved the device based on a demonstration that the device

is “substantially equivalent” to another device that has gone through the PMA process (a

“predicate device”). 21 C.F.R. § 807.92; see Buckman, 531 U.S. at 344–45 (discussing the two

regulatory routes). Accordingly, a 510(k) clearance usually allows—and is intended to allow—a

manufacturer to bring a device to market more quickly than a device that goes through the PMA

approval process. In order to obtain a 510(k) clearance, a medical device manufacturer must

demonstrate, inter alia, that the device has the same intended use as the predicate device, that the



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device has the same technological characteristics or is as safe and as effective as the predicate

device, and that it does not raise different questions of safety or efficacy. See 21 U.S.C.

§ 360e(b)(1)(B); 21 C.F.R. § 807.81.

       C.       Adulteration and Misbranding Charges

       The FDCA, 21 U.S.C. § 301 et seq., “was designed primarily to protect consumers from

dangerous products.” United States v. Sullivan, 332 U.S. 689, 696 (1948); see United States v.

Dotterweich, 320 U.S. 277, 280 (1943); United States v. Dianovin Pharm., Inc., 475 F.2d 100,

103 (1st Cir. 1973). Accordingly, the FDCA regulates the marketing and sale of drugs and

medical devices into interstate commerce and also sets forth criminal penalties for violations of

the Act.

       Section 301 of the Act prohibits the “adulteration” or “misbranding” of any food, drug,

device, tobacco product, or cosmetic into interstate commerce, as well as the introduction or

receipt of any such adulterated or misbranded article into interstate commerce. 21 U.S.C.

§ 331(a–c). The crime of adulteration or misbranding is, in its misdemeanor form, a strict

liability offense, see 21 U.S.C. § 333(a)(1); Dotterweich, 320 U.S. at 281, but the offense is a

felony if committed “with the intent to defraud or mislead,” United States v. Orrego-Martinez,

575 F.3d 1, 4 (1st Cir. 2009) (quoting 21 U.S.C. § 333(a)(2)). To convict a defendant under the

felony provisions of the Act, the Government must prove not only the defendant’s knowledge of

the adulteration or misbranding, but also that the defendant had a “specific intent to mislead or

defraud” that was “connected to the misbranding.” United States v. Mitcheltree, 940 F.2d 1329,

1351 (10th Cir. 1991). In this case, the jury found that the Defendants had the requisite

knowledge but not the intent to mislead as defined, leaving the felonies unproven.




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        The Act defines “adulterated drugs and devices” and “misbranded drugs and devices” in

Sections 501 and 502, respectively. See 21 U.S.C. §§ 351–352.

                 1.    Adulteration

       A drug or device can be “deemed adulterated” in a number of circumstances. For

example, Section 501(a) provides that a drug or device is adulterated if it is “poisonous” or

“insanitary,” or has been prepared, packed, manufactured, or held in facilities with insanitary

conditions, or whose manufacturing processes do not conform to “current good manufacturing

practice” so as to ensure the product’s safety. 21 U.S.C. § 351(a). Sections (b) and (c) provide

that drugs whose strength, quantity or purity are misrepresented, or that fall below the recognized

standards for such drugs, are also deemed “adulterated.” See 21 U.S.C. § 351(b), (c). Finally,

and most relevant here, “a device is ‘adulterated’ under the FDCA if it is required to receive

premarket approval . . . from the FDA but moves in commerce even though it did not receive

this PMA.” United States v. Universal Mgmt. Servs., Corp., 191 F.3d 750, 754 (6th Cir. 1999)

(citing 21 U.S.C. § 351(f)(1)(B)).

       In this case, the adulteration offenses charged in the Indictment were based solely on

Section 501(f)(1)(B) of the Act. Specifically, the Indictment alleged that Defendants, with the

intent to defraud and mislead,

       caus[ed] the introduction and delivery for introduction into interstate commerce of
       the Stratus, which was . . . an adulterated device within the meaning of 21 U.S.C.
       § 351(f)(1)(B) in that it was a Class III device that lacked an FDA-approved pre-
       market approval . . . .

[Indictment ¶¶ 116(A), 142]. Again, the jury convicted Defendants of misdemeanor adulteration

but found the Defendants not guilty of having engaged in adulteration with the requisite intent to

defraud or mislead. [ECF No. 432].




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                  2.    Misbranding

        Similarly, Section 502 of the Act provides that a drug or device can be deemed

“misbranded” in a number of ways. See 21 U.S.C. § 352. In this case, the grand jury indicted

Defendants under three separate theories of Section 502 misbranding. The Indictment alleged

that Defendants, with the intent to defraud and mislead, introduced a misbranded product into

interstate commerce, and that the Stratus was misbranded (1) “in that its labeling was false and

misleading in violation of 21 U.S.C. § 352(a),” (2) because it “lacked adequate directions for

use” in violation of 21 U.S.C. § 352(f)(1), and (3) “in that no pre-market notification was

provided for the device as required by Section 510(k) . . . in violation of 21 U.S.C. § 352(o).”

[Indictment ¶¶ 116(A), 144]. The jury convicted Defendants based solely on (3), which

criminalizes the failure to submit a premarket notification for an intended use as required by the

applicable statute. See [ECF No. 432].

        Section 502(o) provides that a device is misbranded if, inter alia, “a notice or other

information respecting it was not provided as required by . . . section 360(k) of this title . . . .” 21

U.S.C. § 352(o). The “notice” refers to the requirement, set forth in 21 U.S.C. § 360(k), that any

person proposing to introduce a device into interstate commerce must, at least ninety days prior

to introducing the device, submit a report to the FDA setting forth the device classification, and

explaining what actions the person has taken to obtain premarket approval from the FDA. See

21 U.S.C. § 360(k). Thus, the misbranding offense charged under Section 502(o) is another way

of alleging that the Defendants introduced the Stratus into interstate commerce without the

appropriate premarket approvals in place.




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       A device’s “intended use” is central to this particular variety of misbranding and the

regulations set forth express guidance on how to determine a device’s “intended use.”

Specifically, 21 C.F.R. § 801.4 provides:

       The words intended uses or words of similar import in §§ 801.5, 801.119, and
       801.122 refer to the objective intent of the persons legally responsible for the
       labeling of devices. The intent is determined by such persons’ expressions or may
       be shown by the circumstances surrounding the distribution of the article. This
       objective intent may, for example, be shown by labeling claims, advertising matter,
       or oral or written statements by such persons or their representatives. It may be
       shown by the circumstances that the article is, with the knowledge of such persons
       or their representatives, offered and used for a purpose for which it is neither labeled
       nor advertised. The intended uses of an article may change after it has been
       introduced into interstate commerce by its manufacturer. If, for example, a packer,
       distributor, or seller intends an article for different uses than those intended by the
       person from whom he received the devices, such packer, distributor, or seller is
       required to supply adequate labeling in accordance with the new intended uses. But
       if a manufacturer knows, or has knowledge of facts that would give him notice that
       a device introduced into interstate commerce by him is to be used for conditions,
       purposes, or uses other than the ones for which he offers it, he is required to provide
       adequate labeling for such a device which accords with such other uses to which
       the article is to be put.

21 C.F.R. § 801.4. 1




1
  In January 2017, FDA published a final rule amending the regulation by deleting the final
sentence, which the FDA hoped would clarify how it evaluates the knowledge element of
intended use violations. Clarification of When Products Made or Derived from Tobacco Are
Regulated as Drugs, Devices, or Combination Products; Amendments to Regulations Regarding
‘Intended Uses’, 82 Fed. Reg. 2193, 2196 (Jan. 9, 2017). Due to industry pushback, however,
the FDA has delayed the effective date of the amendment indefinitely. Clarification of When
Products Made or Derived from Tobacco Are Regulated as Drugs, Devices, or Combination
Products; Amendments to Regulations Regarding ‘Intended Uses’; Partial Delay of Effective
Date, 83 Fed. Reg. 11639, 11640 (Mar. 16, 2018).


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II.       Evidence at Trial

          In reaching its verdict, the jury could have found the following facts, based on the

evidence presented at trial. 2 This summary is intended to provide an overview and is

supplemented as needed throughout the memorandum and order. 3

          Acclarent was founded in 2004 with the goal of having a medical device on the market

within eighteen months that would aid in the treatment of sinusitis and other sinus conditions. 4

Defendant Facteau was employed at Acclarent as its CEO from November 2004 through

December 2011. 5 Defendant Fabian was employed at Acclarent as its VP of Sales from August

2007 until November 2011. 6 Initially, Acclarent focused on the use of balloons as a minimally

invasive approach to treating sinusitis. 7 Over time, however, the company shifted its focus to

inventing a device that would treat the condition by eluting liquid to the sinuses in order to

prevent obstruction and reduce inflammation. 8




2
 The Court presents the evidence in the light most favorable to the verdict. See United States v.
Meléndez-González, 892 F.3d 9, 17 (1st Cir. 2018).
3
 As most relevant to this summary, the testifying witnesses at trial included Bradford Ader, Dr.
Douglas Armstrong, Fred Barrigar, Norman Bilsbury, Dr. Peter Catalano, Dr. Cathy Chong, Dr.
Martin Citardi, Kevin Convery, Dr. Douglas Hoisington, Dr. Peter Hwang, Dr. Anjun Khan, Erik
Krinsky, Dr. Howard Levine, Barbara Logan, Wendy Oakes, Henry Plain, Benjamin Steffen, and
Mary (“Mollie”) Vanderkarr.
4
    [6/9/16 Tr. at 142:3–20].
5
    [Id. at 133:22–23; 7/7/16 Tr. at 220:17–18].
6
    [6/14/16 Tr. at 83:10–12; 7/7/16 Tr. at 220:19–20].
7
    [6/9/16 Tr. at 142:3–20; 6/13/16 Tr. at 55:17–56:3, 80:2–4; 6/22/16 Tr. at 23:16–19].
8
    [6/8/16 Tr. at 39:25–40:6; 6/13/16 Tr. at 153:21–24].
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          A.     Design History

          In 2005, the company’s Scientific Advisory Board (“SAB”) was actively engaged in

designing a spacer that would accomplish this treatment goal by delivering drugs directly to the

sinuses. 9 One witness described the ability to deliver steroids directly to the sinuses as “the holy

grail for rhinology,” and it was clear that developing a device to accomplish this would be

lucrative. 10 The SAB discussed features of the device, including the pore size needed to elute a

steroid called Kenalog-40 into the sinuses. 11 Defendant Facteau led the meetings with

Acclarent’s SAB and Defendant Fabian was often present. 12 It became clear that physician

members of the SAB did not think there would be value in using the device with liquids, like

saline, other than Kenalog-40. 13 As a result of these meetings and observations, in January 2006,

members of Acclarent’s executive team, including Defendant Facteau, signed off on a product

specification sheet for the device indicating that a “key requirement” was that it would deliver

Kenalog-40 into the sinuses for up to fourteen days. 14 In 2007, Dr. Howard Levine, an SAB




9
    [6/14/16 Tr. at 163:13–164:14; 7/12/16 Tr. at 106:2–11].
10
     [6/30/16 Tr. at 185:6–9, 187:2–9]; see also [6/15/16 Tr. at 95:10–15].
11
     [6/14/16 Tr. at 163:13–164:14].
12
     [Id. at 161:21–22, 179:7–13; 7/8/16 Tr. at 118:16–18].
13
     [6/14/16 Tr. at 166:14–167:1].
14
     [Id. at 175:2–13, 178:3–11, 178:22–179:6].
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member, was the first physician to use the device in a live patient and he used it with Kenalog-

40. 15

          Members of the SAB were aware that the device’s pores were too large to elute saline

over time, limiting the effectiveness of the device when used with saline. 16 As the company

finalized the device’s design, the issues with saline remained. 17 The pores, however, were sized

perfectly to allow Kenalog-40, a more viscous substance, to elute through the pores and into the

sinuses over ten to fourteen days. 18 It was clear that saline would simply empty out of the device

within a matter of minutes, whereas Kenalog-40 would be released at a much slower rate. 19

Thus, like other available devices, the Stratus could function as a spacer, but it could not

effectively elute saline and was instead clearly designed to elute Kenalog-40, a steroid.

          B.     Regulatory History

          The company’s regulatory strategy was to obtain an initial 510(k) clearance for use of the

device as a spacer with saline, and then expand the indications for the device, including for

delivery of drugs like Kenalog-40. 20 In September 2006, FDA granted the device—now known

as the Stratus—510(k) clearance for use as a spacer that could remain in the ethmoid sinuses for




15
     [7/11/16 Tr. at 226:10–19].
16
     [6/14/16 Tr. at 167:2–9, 168:3–12].
17
     [6/8/16 Tr. at 63:4–6, 69:3–6; 6/14/16 Tr. at 86:25–87:5; 6/16/16 Tr. at 59:16–18].
18
     [6/8/16 Tr. at 62:2–8, 63:10–20, 69:3–6; 6/14/16 Tr. at 164:15–165:9].
19
     [6/8/16 Tr. at 61:19–62:8; 6/22/16 Tr. at 144:13–19, 145:1–3, 146:1–7].
20
     [6/14/16 Tr. at 184:2–15, 186:3–8; 6/15/16 Tr. at 96:5–9; 7/8/16 Tr. at 189:23–190:3].


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up to fourteen days. 21 The 510(k) clearance was premised on Acclarent’s description of the

Stratus as a perforated device that would allow saline to moisten the sinuses. 22 Just over six

months later, in April 2007, Acclarent requested additional clearance to market the Stratus for

drug delivery. 23 In May 2007, FDA denied Acclarent’s request to expand the Stratus’ indication

to include drug delivery, finding that combining drug delivery with a device would render the

Stratus a combination product that would require a more extensive approval process. 24

          Acclarent continued its work developing the Stratus for drug delivery. To this end, the

company had a project steering committee which included Defendant Facteau as a committee

member. 25 In September 2007, committee members (including Defendant Facteau) and other

senior management (including Defendant Fabian) were invited to a meeting to discuss progress

on the device. 26 The meeting included a presentation compiled by different Acclarent

departments which made clear that the device the company was designing and seeking to

commercialize was focused on drug delivery rather than saline. 27 The presentation noted that the

device would need FDA approval for a drug delivery indication. 28 Even as late as 2010,




21
  [6/13/16 Tr. at 97:13–17; 6/14/16 Tr. at 207:2–15; 6/15/16 Tr. at 83:17–22; 6/23/16 Tr. at
182:23–183:20; 6/27/16 Tr. at 111:21–112:6, 131:4–7].
22
     [6/27/16 Tr. at 116:19–117:17].
23
     [6/14/16 Tr. at 207:2–15; 6/15/16 Tr. at 83:16–22].
24
     [6/15/16 Tr. at 85:21–24; 6/27/16 Tr. at 106:4–17, 136:8–16, 142:21–143:20, 146:3–5].
25
     [6/22/16 Tr. at 18:2–11].
26
     [Id. at 41:5–20, 42:20–23, 43:5–12, 46:15–18].
27
     [Id. at 48:21–49:6, 49:8–15].
28
     [Id. at 53:16–54:5].
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however, an FDA medical officer who had been reviewing Acclarent’s Stratus-related

applications since 2006—Dr. Anjun Khan—testified that she felt that a drug delivery indication

would require a premarket approval application, rather than a simple 510(k) notification. 29 The

FDA met with Defendant Facteau and other Acclarent representatives in late 2010 to discuss the

Agency’s decision not to approve a clinical study involving the use of the Stratus with Kenalog-

40. 30 During that meeting, Acclarent told the FDA that they were seeking an indication for use

of the spacer with Kenalog-40 because that off-label use was reported by “the majority of

physicians” who used the device. 31 Ultimately, however, the FDA did not ever approve the

Stratus for use as a drug delivery device. 32

          C.      Device Launch

          In 2008, Acclarent, at the direction of Defendant Facteau, decided to move forward and

sell the Stratus based on its approval for the saline indication, though internal discussions

demonstrate that the plan was actually to market the device for use with Kenalog-40. 33 Unlike

other comparable devices, the Stratus, because of its design, could be used to deliver a drug like

Kenalog-40 directly to difficult-to-reach areas of the sinuses, an attribute that physicians were

interested in given the perceived benefit of being able to deliver a steroid directly into the




29
     [6/28/16 Tr. at 101:7–14, 102:15–103:10].
30
     [Id. at 104:25–105:9, 106:1–7, 107:21–23, 108:12–17].
31
     [Id. at 109:2–14].
32
     [7/5/16 Tr. at 91:24–92:2].
33
     [6/23/16 Tr. at 103:13–22; 7/6/16 Tr. at 152:12–153:15; 7/11/16 Tr. at 57:5–13, 99:11–17].
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sinuses. 34, 35 Several members of the SAB, including Dr. Peter Catalano and Dr. Douglas

Hoisington, disagreed with marketing the device for drug delivery and felt the company should

gather additional information about its use with a steroid before launch. 36 Despite this,

Acclarent, without FDA approval for a drug delivery indication, did a limited release of the

Stratus in mid-2008 and then fully launched the product in September 2008. 37 A few days

before launch, Defendant Facteau sent a slide presentation to several members of the SAB in

which the Stratus was described as “simply a way to obtain sustained drug delivery to a targeted

sinus or sinus complex.” 38

          Thus, despite the limited approval obtained from the FDA, Defendants Facteau and

Fabian helped Acclarent position the Stratus—both through internal training and external

promotion—for drug delivery.

          D.     Internal Training

          At a training for new sales representatives in August 2008, Defendant Facteau gave a

presentation that indicated that the company was seeking to commercialize an “advanced drug

delivery” treatment, referring to the Stratus. 39 Defendant Fabian was typically present at and




34
     [6/15/16 Tr. at 95:10–15].
35
  Initially the Stratus was approved for use only in the ethmoid sinuses. [6/15/16 Tr. at 162:24–
163:2; 6/21/16 Tr. at 23:18–23; 6/28/16 Tr. at 30:24–31:19]. Later it was cleared for all sinuses
and a larger version was eventually approved for use in the frontal sinuses. [6/15/16 Tr. at
162:24–163:2; 6/23/16 Tr. at 121:19–24; 6/27/16 Tr. at 150:11–14; 6/28/16 Tr. at 30:24–31:19].
36
     [7/8/16 Tr. at 158:16–23].
37
     [6/9/16 Tr. at 146:7–14, 170:14–20; 6/22/16 Tr. at 61:16–18, 62:4–6, 62:22–25, 79:12–20].
38
     [7/6/16 Tr. at 152:12–153:15].
39
     [6/9/16 Tr. at 146:7–24].
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often participated in such new hire trainings. 40 In September 2008, Acclarent hosted a

conference call for sales representatives to discuss the national launch of the Stratus. 41

Defendant Fabian attended the conference call at which Defendant Facteau presented

information to the sales team. 42 Defendant Facteau’s own notes from the call reflect that he

planned to tell the sales team to talk to physicians about using the device with Kenalog-40 in

order to provide physicians with the “opportunity for a pharmacological approach” to treating

sinusitis.43 A sales representative who attended the call, Mollie Vanderkarr, recalled being told

that the company was “confident” about the efficacy of Kenalog-40. 44 Vanderkarr said that

neither Defendant Facteau nor anyone else at Acclarent trained her to recommend using the

Stratus with saline. 45

          During subsequent training sessions, sales representatives were told that the Stratus had

only been approved in the United States for use with saline, but that the company was seeking

FDA approval for use of the device with Kenalog-40. 46 Although the FDA had only approved

the Stratus for use with saline, sales representatives were not taught about any benefits of using

the device with saline, nor were they trained to talk to physicians about using the device with




40
  [6/9/16 Tr. at 164:4–10, 165:21–23; 6/14/16 Tr. at 83:10–25; 6/16/16 Tr. at 116:9–117:1;
6/20/16 Tr. at 22:13–21, 23:2–11].
41
     [6/9/16 Tr. at 212:20–22, 213:10–12].
42
     [Id. at 213:24–25; 6/10/16 Tr. at 39:22–40:1].
43
     [6/10/16 Tr. at 43:15–44:1, 44:25–45:12; 7/6/16 Tr. at 157:5–158:7].
44
     [6/10/16 Tr. at 39:22–40:7].
45
     [Id. at 42:18–22].
46
     [6/9/16 Tr. at 160:24–161:12; 6/20/16 Tr. at 61:2–7].
                                                  15
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saline. 47 Sales representatives also were not trained about any benefits of using the Stratus solely

as a spacer without saline or Kenalog-40, similar in function to a stent. 48 Instead, sales

representatives were told that the Stratus was designed for use with Kenalog-40. 49 Sales

representatives soon learned that saline—unlike Kenalog-40—would leak out of the device

almost immediately because of the size of the holes, rather than slowly eluting over a period of

days. 50

              Defendants Facteau and Fabian attended Acclarent’s January 2009 national sales

meeting. 51 At that meeting, Defendant Fabian praised sales representative Vanderkarr in

connection with a role-playing exercise she performed for the national sales team. 52 Vanderkarr

had been asked to participate in order to demonstrate how to get a physician interested in using

the Stratus. 53 She did not recall discussing saline during the role play. 54 Sales representative

Kevin Convery recalled seeing Vanderkarr’s demonstration at the meeting and said she presented

the Stratus as a drug delivery device. 55 Convery himself also gave a presentation at that sales

meeting, attended by Defendant Facteau, in which he discussed marketing the Stratus for use as a


47
  [6/9/16 Tr. at 156:12–18; 6/14/16 Tr. at 87:15–88:7; 6/16/16 Tr. at 71:11–14; 6/20/16 Tr. at
29:3–5, 64:2–12; 6/21/16 Tr. at 24:17–25].
48
     [6/14/16 Tr. at 87:6–14; 6/20/16 Tr. at 25:24–26:6, 27:10–16, 65:5–12].
49
     [6/9/16 Tr. at 154:2–16; 6/20/16 Tr. at 25:13–23, 60:8–18].
50
     [6/9/16 Tr. at 154:12–25, 208:15–20; 6/20/16 Tr. at 28:7–14, 61:15–62:4].
51
     [7/7/16 Tr. at 76:8–12].
52
     [6/10/16 Tr. at 102:7–11, 114:2–8].
53
     [Id. at 101:21–102:3].
54
     [Id.].
55
     [6/16/16 Tr. at 82:11–19].
                                                    16
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drug delivery device. 56 At the same meeting, Dr. Thomas Brandeisky gave a presentation, edited

by members of Acclarent’s marketing team and reviewed by Defendant Fabian, in which he

discussed using the Stratus with steroids. 57

          Beginning in 2008, sales representatives were given a “physician discussion guide” to

help them learn key discussion points to use when pitching the Stratus to physicians. 58 This

guide was approved for use in the field through Acclarent’s regulatory process, which included

review by Defendant Fabian. 59 The guide included potential questions from physicians, as well

as recommended answers, one of which was the following: “From our experience with the

device outside of the U.S., the only agent that works optimally with the current [Stratus] is

[Kenalog-40].” 60 The guide also stated that, “[b]ased on discussions during the development

process and the 2008 Sinus Forum,” physicians might want to use the device with steroids. 61

          Sales representatives, including Bradford Ader and Vanderkarr, testified that Acclarent

trained them to ask physicians probing or leading questions in order to facilitate a discussion

about the off-label use of the Stratus with Kenalog-40. 62 For example, when physicians asked

why they should use the Stratus with saline, Vanderkarr testified that she would tell them that the




56
     [Id. at 30:22–24, 33:15–25, 34:10–11, 34:17–35:13].
57
     [7/7/16 Tr. at 70:12–22, 72:12–73:7].
58
     [6/9/16 Tr. at 141:13–15, 195:1–2, 195:16–196:1, 196:17–23].
59
  [Id. at 196:21–23; 6/13/16 Tr. at 10:3–17, 11:10–12:3 (discussing Defendant Fabian’s
involvement in the approval process for marketing materials generally)].
60
     [7/12/16 Tr. at 112:19–113:16].
61
     [6/13/16 Tr. at 152:2–19].
62
     [6/9/16 Tr. at 201:14–17; 6/21/16 Tr. at 27:23–28:2].
                                                  17
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product was approved for use with saline in the United States, but would then tell them that the

device was approved for use with Kenalog-40 outside of the United States. 63 Some of these

probing questions were included in the physician discussion guide. 64

          E.     External Promotion

          Defendants Facteau and Fabian were involved in reviewing promotional materials prior

to the September 2008 full launch of the Stratus. 65 Sales representatives testified that they were

not given any promotional materials for the Stratus that discussed the benefits of using the device

with saline. 66 Several Acclarent sales representatives, including Ader, Convery, Barbara Logan,

and Vanderkarr, testified that they never trained physicians to use the Stratus with saline and did

not promote the device to physicians for use with saline. 67 Sales representatives Ader, Convery,

Erik Krinsky, Logan, Benjamin Steffen, and Vanderkarr testified that they had never heard of a

physician using the Stratus with saline and that all of the physicians they worked with used the

device with Kenalog-40. 68

          In terms of being a spacer or a means of delivering saline, the Stratus was more

expensive than other products available in the marketplace for those uses and offered no




63
     [6/9/16 Tr. at 199:4–9].
64
     [6/16/16 Tr. at 37:8–18].
65
     [7/6/16 Tr. at 143:6–144:8].
66
     See, e.g., [6/15/16 Tr. at 208:13–19; 6/20/16 Tr. at 29:15–17; 6/21/16 Tr. at 25:22–24].
67
   [6/9/16 Tr. at 179:8, 198:2–6; 6/15/16 Tr. at 208:20–209:1; 6/20/16 Tr. at 66:8–14; 6/21/16 Tr.
at 28:12–17]; see also [6/9/16 Tr. at 110:13–21 (Dr. Armstrong testifying that Acclarent sales
representatives never suggested that he use the Stratus with saline)].
68
  [6/10/16 Tr. at 98:16–18, 99:1–3; 6/14/16 Tr. at 105:20–106:8; 6/16/16 Tr. at 58:25–59:4;
6/20/16 Tr. at 31:12–13, 66:15–17; 6/21/16 Tr. at 28:18–29:2].
                                                  18
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additional benefits. 69 Dr. Levine, an SAB member, testified that no one at Acclarent ever

recommended that he use the Stratus with saline. 70 He testified that he exclusively used the

Stratus with Kenalog-40 and had never used it with saline. 71 He also testified that he never heard

of a physician using the device with saline. 72 Dr. Catalano, also an SAB member, testified that

he never used the Stratus with saline and always used it with Kenalog-40 because he did not

think there was any benefit to using the device with saline. 73 He stated that he would not have

recommended the Stratus for use with saline to another physician, nor could he remember any

physician he knew ever using it with saline. 74 He also testified that he thought the Stratus would

be “useless” as a spacer or stent. 75

          Dr. Cathy Chong testified that Logan, the Acclarent sales representative assigned to her

practice, described the Stratus to her as a drug delivery device. 76 Dr. Chong said that she never

heard Logan discuss using the Stratus with saline, nor did Dr. Chong ever use the device with

saline. 77 She also said she had never been told about the possibility of using the device solely as




69
     [6/9/16 Tr. at 114:21–115:10; 6/15/16 Tr. at 95:16–25].
70
     [7/11/16 Tr. at 230:19–25].
71
     [Id. at 139:23–140:1, 229:3–10].
72
     [Id. at 229:11–230:2].
73
     [7/12/16 Tr. at 65:18–66:3, 66:20–22].
74
     [Id. at 67:2–5, 67:11–20].
75
     [Id. at 41:5–13, 68:16–19].
76
     [6/15/16 Tr. at 124:10–17].
77
     [Id. at 125:24–126:4, 127:11–12].
                                                  19
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a spacer, nor did she think using the device as a spacer or stent would have been effective. 78 Dr.

Chong said she would not have been interested in using the device for any purpose other than

steroid delivery. 79

          Dr. Peter Hwang testified that the Acclarent sales representative assigned to his territory,

Sean Riley, discussed using the Stratus with steroids and it was clear to Dr. Hwang that Riley

hoped he would use the device with steroids. 80 He said that Riley never recommended using the

Stratus with saline or as a spacer. 81 In addition, Dr. Hwang testified that using the device simply

to deliver saline would not have had any therapeutic value. 82

          Ader, Convery, and Vanderkarr testified that they had never recommended that a

physician use the device simply as a spacer, without saline or Kenalog. 83 Dr. Martin Citardi

testified that the Stratus would not be useful as a standalone spacer and Dr. Hoisington similarly

testified that the device did not work solely as a spacer. 84, 85




78
 [6/15/16 Tr. at 126:5–7, 130:15–131:2]; see also [7/8/16 Tr. at 130:6–131:6 (testimony of Dr.
Hoisington confirming that the device did not work with saline)].
79
     [6/15/16 Tr. at 126:8–14].
80
     [6/27/16 Tr. at 31:12–22].
81
     [Id. at 31:23–32:3].
82
     [Id. at 32:4–14].
83
     [6/14/16 Tr. at 37:19–23; 6/16/16 Tr. at 233:11–13; 6/21/16 Tr. at 28:25–29:4].
84
     [6/30/16 Tr. at 186:13–25].
85
     [7/8/16 Tr. at 130:12–131:6].
                                                   20
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                  1.     2008 Sinus Forum

          In July 2008, Acclarent sponsored an event called Sinus Forum to educate physicians

about Acclarent products and related procedures. 86 Dr. Douglas Armstrong testified regarding

his attendance at the event and his participation in a panel discussion. 87 Defendant Facteau was

on the Planning Committee for the event and helped to select topics and panel members. 88

Defendant Fabian also provided input during the event’s planning stages. 89 Defendant Facteau

specifically directed Acclarent staff to arrange for a live demonstration of the Stratus with

Kenalog-40 at the event and reviewed a proposed discussion guide that directed employees to

talk to doctors there about using the Stratus with Kenalog-40. 90

          Dr. Armstrong recalled meeting Defendant Facteau at the event. 91 Defendant Fabian was

also at the event. 92 Acclarent offered live video demonstrations of offsite surgical procedures in

which physicians implanted the Stratus with Kenalog-40. 93 There were no demonstrations of the

device being used with saline. 94 The agenda also included a panel discussion on localized drug




86
     [6/8/16 Tr. at 38:16–22, 42:23–24; 6/15/16 Tr. at 14:2–3].
87
     [6/8/16 Tr. at 39:20–24, 42:25–43:1].
88
     [6/15/16 Tr. at 5:1–21].
89
     [Id. at 20:2–12].
90
     [Id. at 6:1–9, 25:23–26:10, 30:9–31:1].
91
     [6/8/16 Tr. at 44:9–13].
92
     [6/16/16 Tr. at 18:10–11].
93
  [6/8/16 Tr. at 45:5–11, 48:15–18, 49:7–10; 6/16/16 Tr. at 21:20–22:5; 7/8/16 Tr. at 97:10–15,
98:15–18].
94
     [6/9/16 Tr. at 110:6–8; 6/15/16 Tr. at 121:5–7; 6/16/16 Tr. at 22:20–22].
                                                  21
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delivery. 95 Dr. Armstrong said that physicians at the event were told that they were not expected

to use the device with saline, and that Acclarent employees and salespeople made clear that they

expected physicians to use the device with Kenalog-40. 96

                  2.      2008 Annual Meeting of the American Academy of Otolaryngologists

          In September 2008, Dr. Frederick Kuhn gave a presentation on behalf of Acclarent at the

Annual Meeting of the American Academy of Otolaryngologists (“AAO”). 97 Dr. Kuhn was a

member of Acclarent’s SAB. 98 Prior to the event, Dr. Catalano expressed his concerns to

Defendant Facteau and other members of the SAB about launching the device at the AAO

meeting given that there was limited data on the device’s safety or efficacy for drug delivery. 99

Defendant Facteau disagreed with Dr. Catalano, and Dr. Kuhn’s presentation went forward as

planned. 100 The slides Dr. Kuhn presented at the AAO meeting described the Stratus as a spacer

that provided drug delivery. 101 He specifically referenced using the Stratus with Kenalog-40. 102




95
     [6/15/16 Tr. at 31:16–19].
96
  [6/8/16 Tr. at 50:9–16; 6/9/16 Tr. at 107:6–18, 110:9–21]; see also [7/12/16 Tr. at 131:11–19
(Dr. Levine testifying that a discussion point at the Forum was about using the Stratus for drug
delivery)].
97
     [6/8/16 Tr. at 170:14–16].
98
     [6/15/16 Tr. at 23:1–5; 6/22/16 Tr. at 108:15–17; 7/7/16 Tr. at 131:8–15].
99
     [7/12/16 Tr. at 73:15–17, 74:5–11].
100
      [Id. at 75:9–20].
101
      [6/8/16 Tr. at 170:14–25; 6/30/16 Tr. at 196:7–11].
102
      [6/30/16 Tr. at 196:7–11, 201:2–6, 209:24–210:3].
                                                  22
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                  3.     Physician Training Sessions

          Acclarent required all physicians to attend training sessions prior to purchasing the

Stratus. 103 After the Sinus Forum, Dr. Armstrong attended one of these training sessions and

testified that Acclarent trainers instructed physicians to use the device by filling it with Kenalog-

40, not saline. 104 Convery attended nearly twenty-five of these physician training sessions. 105

Convery and other sales representatives testified that in these sessions, physicians were trained to

use the Stratus with Kenalog-40 and were not trained to use the device with saline. 106 In 2009,

Acclarent updated its training practices to include the use of Coffee-Mate—a non-dairy creamer

that resembles Kenalog-40 in color and texture—to demonstrate the Stratus. 107 Defendant

Fabian was copied on an email in which this new training practice was communicated to the

sales team. 108 Dr. Levine testified that when he was trained to use the device, it was

demonstrated using a white, milky substance. 109

                  4.     Physician Training Video

          Sales representatives were given a video to show physicians in which a doctor

demonstrated how to implant the Stratus and then fill it with a white substance that witnesses




103
      [6/9/16 Tr. at 31:3–9].
104
      [6/8/16 Tr. at 66:1–14].
105
      [6/16/16 Tr. at 46:12–15].
106
      [Id. at 49:14–20; 6/21/16 Tr. at 26:17–21].
107
      [6/16/16 Tr. at 50:5–11, 53:14–54:5; 6/20/16 Tr. at 63:17–24].
108
      [6/16/16 Tr. at 52:2–14].
109
      [7/11/16 Tr. at 230:7–18].
                                                    23
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identified as Kenalog-40. 110 The video had been approved for use in the field through

Acclarent’s regulatory process, which included review and approval by Defendant Fabian. 111

                  5.     Physician Training Deck

          Sales representatives were given a slide presentation to show physicians as an

introduction to the Stratus. 112 The presentation itself went through the regulatory approval

process, which included review and approval by Defendant Fabian. 113 This product introduction

presentation did not mention saline. 114 Vanderkarr testified that she would present the slides to

physicians while discussing Kenalog-40. 115 In October 2009, Defendant Fabian sent sales

representatives another slide presentation to use to train physicians about the Stratus. 116 The

slides contained a picture of the Stratus filled with Kenalog-40. 117 The slides did not discuss

using the Stratus solely as a spacer. 118 Vanderkarr testified that she never received any training

slides for use with physicians that demonstrated how to use the Stratus with saline. 119



110
   [6/9/16 Tr. at 175:14–18, 176:16–24; 6/15/16 Tr. at 132:5–6, 132:15–20, 133:9–11, 206:23–
25, 207:18–22; 6/21/16 Tr. at 26:4–9].
111
      [6/9/16 Tr. at 177:11–14; 6/13/16 Tr. at 10:3–17, 11:10–12:3].
112
      [6/9/16 Tr. at 209:1–8].
113
      [Id. at 209:9–14; 6/13/16 Tr. at 10:3–17, 11:10–12:3].
114
      [6/9/16 Tr. at 210:20–21; 6/15/16 Tr. at 134:10–12, 208:7–19].
115
      [6/9/16 Tr. at 209:16–210:5].
116
      [6/10/16 Tr. at 63:2–15, 65:2–8].
117
      [Id. at 66:13–18; 6/15/16 Tr. at 134:13–16].
118
      [6/15/16 Tr. at 134:17–21].
119
      [6/10/16 Tr. at 69:13–16].


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          Sometime in 2011, Steffen recalled seeing a sales representative, Jason Elmore, give a

presentation to physicians that included slides Elmore had created (without going through the

marketing review process) that described the Stratus as designed to elute Kenalog-40. 120

Defendant Fabian communicated with sales representatives, including Steffen, via email,

praising Elmore’s sales methods. 121 Elmore was later promoted to Director of Education and

Sales for Acclarent. 122

                 6.        Sell Sheets

          In addition to the product introduction presentation, sales representatives had sell sheets

that they could show physicians to share information about the Stratus. 123 The sell sheets were

approved through the regulatory approval process, which included review and approval by

Defendant Fabian. 124 These sell sheets had a picture that showed the Stratus being used with

Kenalog-40 instead of saline. 125 The sell sheets did not mention saline. 126

                 7.        Field Ride-Alongs

          In December 2008, Vanderkarr was on an email chain with Defendants Fabian and

Facteau in which Fabian praised her for communicating with a physician about using the Stratus




120
    [6/14/16 Tr. at 111:18–23, 112:9–18, 114:14–20, 115:15–19, 116:6–7]; see also [6/21/16 Tr.
at 74:16–75:1 (Bilsbury testimony regarding same slide presentation)].
121
      [6/14/16 Tr. at 111:8–25].
122
      [Id. at 124:4–5, 124:16–23].
123
      [6/9/16 Tr. at 211:3–23].
124
      [Id. at 209:12–14, 211:3–13; 6/13/16 Tr. at 10:3–17, 11:10–12:3].
125
      [6/9/16 Tr. at 211:3–17].
126
      [Id. at 211:18–19; 6/15/16 Tr. at 208:13–19].
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with Kenalog-40. 127 He also participated in a ride-along with Vanderkarr in 2009 in which they

visited physicians and talked to them about the Stratus. 128 Vanderkarr could not recall specific

conversations she had with the physicians that she visited during Defendant Fabian’s ride-along,

but she testified that she would have presented the Stratus to physicians as she usually did—in

other words, as a drug delivery device. 129 In a November 2009 email exchange, Defendant

Fabian praised another sales representative after learning that he had recommended the device

for use with Kenalog-40, saying, “This is a great example of how we all should approach every

surgeon in every case, every day.” 130 After accompanying sales representatives Ader and

Norman Bilsbury on separate ride-alongs in 2009, Defendant Fabian sent them each an email

encouraging them to pitch the Stratus as an “extension of medical management” when meeting

with doctors. 131 Ader and Bilsbury testified that sales representatives were trained to understand

that “medical management” referred to treating patients with medicine or drugs, not saline. 132

III.      ACQUITTAL UNDER RULE 29

          A.     Legal Standard

          To prevail on a motion for judgment of acquittal under Federal Rule of Criminal

Procedure 29, a defendant must “show that the evidence presented at trial, even when viewed in




127
      [6/10/16 Tr. at 126:25–127:3, 127:8–10, 129:5–20].
128
      [Id. at 180:25–181:23, 183:21–23].
129
      [6/9/16 Tr. at 179:8, 198:2–6, 200:18–201:6; 6/10/16 Tr. at 183:1–4, 183:21–23]
130
      [6/10/16 Tr. at 133:4–5, 136:11–14, 137:25–138:9].
131
      [6/21/16 Tr. at 35:11–15, 35:20–23, 37:2–8, 70:12–19, 71:9–15].
132
   [Id. at 37:8–18, 51:21–24, 71:23–72:3, 72:20–73:1, 149:14–16]; see also [6/22/16 Tr. at
33:20–23 (Barrigar testimony regarding same)].
                                                 26
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the light most favorable to the government, did not suffice to prove the elements of the offenses

beyond a reasonable doubt.” United States v. Acevedo, 882 F.3d 251, 257 (1st Cir. 2018). On a

Rule 29 motion, the Court does not “weigh the evidence or make any credibility judgments, as

those are left to the jury.” United States v. Merlino, 592 F.3d 22, 29 (1st Cir. 2010) (citing

United States v. Ayala-Garcia, 574 F.3d 5, 11 (1st Cir. 2009)). Instead, the Court “resolve[s] all

credibility disputes in the verdict’s favor,” id. (quoting United States v. Olbres, 61 F.3d 967, 970

(1st Cir. 1995)), and “examine[s] the evidence—direct and circumstantial—as well as all

plausible inferences drawn therefrom, in the light most favorable to the verdict,” United States v.

Meléndez-González, 892 F.3d 9, 17 (1st Cir. 2018) (internal quotation marks omitted).

       The verdict will be upheld if it is “supported by a plausible rendition of the record.”

Merlino, 592 F.3d at 29 (quoting United States v. Bristol-Martir, 570 F.3d 29, 38 (1st Cir.

2009)). “If the evidence viewed in the light most favorable to the verdict gives equal or nearly

equal circumstantial support to a theory of guilt and a theory of innocence of the crime charged,”

however, the Court must reverse the conviction because “where an equal or nearly equal theory

of guilt and a theory of innocence is supported by the evidence viewed in the light most

favorable to the prosecution, a reasonable jury must necessarily entertain a reasonable doubt.”

United States v. Burgos, 703 F.3d 1, 10 (1st Cir. 2012) (quoting United States v. Flores-Rivera,

56 F.3d 319, 323 (1st Cir. 1995)).

       B.      Defendants’ Asserted Grounds for Acquittal

       In their motion for acquittal, Defendants set forth four separate grounds for acquittal:

(1) that the Government’s reliance on truthful, non-misleading speech to support Defendants’

conviction violates the First Amendment; (2) that Defendants’ Due Process rights were violated

by being held strictly liable for non-fraudulent conduct; (3) that the Government failed to provide



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sufficient evidence to prove adulteration or misbranding in connection with the shipments

alleged in the sole counts of conviction; and (4) that the jury’s adulteration and misbranding

verdicts were mutually exclusive. [ECF No. 484 at 4–5].

               1.       Alleged First Amendment Violation

       The Defendants assert that the convictions in this case violate the First Amendment

because they rely on evidence of truthful, non-misleading speech. [ECF No. 484 at 6–7]. The

gist of the argument is that because the evidence of intended use consisted of only truthful, non-

misleading speech and internal communications not shared with customers, there was no

criminal actus reus beyond protected speech to support the convictions. [ECF No. 484 at 7–8].

The Government responds that the speech served only as evidence of the crime, while the crime

itself was the distribution of a device that lacked FDA approval or premarket notice for the

intended use of drug delivery. [ECF No. 497 at 6–7].

       The Supreme Court has held that “[s]peech in aid of pharmaceutical marketing . . . is a

form of expression protected by the Free Speech Clause of the First Amendment.” Sorrell v.

IMS Health Inc., 564 U.S. 552, 557 (2011). Speech that is false or misleading, however, is not

protected. Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n, 447 U.S. 557, 576 (1980)

(Brennan, J., concurring); Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council, 425

U.S. 748, 771 (1976) (citing Gertz v. Robert Welch, Inc., 418 U.S. 323, 340 (1974)). Speech

alone may not constitute an actus reus in the context of a misbranding action but, as the Supreme

Court has recognized, “[t]he First Amendment . . . does not prohibit the evidentiary use of speech

to establish the elements of a crime or to prove motive or intent.” Wisconsin v. Mitchell, 508

U.S. 476, 489 (1993).




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       The First Circuit has not yet considered the line between off-label promotion that is

truthful and non-misleading and the FDA’s ability to regulate speech relative to off label

promotion. Courts within the Second Circuit have considered this issue in two seminal cases,

United States v. Caronia, 703 F.3d 149 (2d Cir. 2012), and Amarin Pharma, Inc. v. United States

Food & Drug Administration, 119 F. Supp. 3d 196 (S.D.N.Y. 2015).

       In Caronia, the Second Circuit held that while truthful, non-misleading commercial

speech alone may not sustain a criminal conviction, “[o]ff-label promotional statements

could . . . presumably constitute evidence of an intended use of a drug that the FDA has not

approved.” Caronia, 703 F.3d at 155. The Second Circuit noted that at trial, the Government

had “treated [the defendant’s] promotional speech as more than merely evidence of a drug’s

intended use” such that the defendant was convicted of a crime in which the actus reus was

protected speech. Id. at 155, 158. In rejecting the Government’s argument that the defendant’s

speech was only used as evidence of intent concerning the misbranding charge, the Second

Circuit held that the Government “never argued in summation or rebuttal that the promotion was

evidence of intent” and that “the record makes clear that the [G]overnment prosecuted [the

defendant] for his promotion and marketing efforts.” Id. at 161.

       Amarin, a civil case, involved a pharmaceutical company’s challenge to a communication

from the FDA which suggested that the company’s product might be misbranded if the company

used certain statements to market the product. Amarin, 119 F. Supp. 3d at 212. The FDA

represented to the court that it had reserved the right to institute a misbranding action against the

company “where the only conduct on which that action would be based are truthful and non-

misleading statements promoting off-label use.” Id. at 223. Consistent with Caronia, the court




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found that truthful and non-misleading off-label speech cannot serve as the sole basis for a

misbranding action. Id. at 229.

        In both Caronia and Amarin, the courts articulated a distinction between truthful, non-

misleading off-label speech alone, and speech in connection with the act of mislabeling for an

unapproved intended use. Caronia, 703 F.3d at 161 (“Even assuming the government can offer

evidence of a defendant’s off-label promotion to prove a drug’s intended use and, thus,

mislabeling for that intended use, that is not what happened in this case.”); Amarin, 119 F. Supp.

3d at 228 (“Caronia does not limit the Government’s ability to use promotional speech to

establish intent in a misbranding action with a proper actus reus.”); see United States ex rel.

Polansky v. Pfizer, Inc., 822 F.3d 613, 615 n.2 (2d Cir. 2016) (“Caronia left open the

government’s ability to prove misbranding on a theory that promotional speech provides

evidence that a drug is intended for a use that is not included on the drug’s FDA-approved

label.”).

        Unlike the district court in Caronia, here the Court clearly instructed the jury that it could

not convict Defendants simply for making truthful, non-misleading off-label statements. As

examples, the instructions to the jury included the following:

        •   You may not convict a Defendant of a crime based solely on truthful, non-
            misleading statements promoting an FDA-cleared or approved device, even if
            the use being promoted is not a cleared or approved use. [ECF No. 436 at 26
            (“Jury Instructions”)].

        •   Truthful, non-misleading speech cannot be a criminal act in and of itself, but it
            can be evidence and therefore used by you to determine whether the
            government has proved each element of each offense beyond a reasonable
            doubt, including the element of intent. [Id. at 27].

        •   Off-label promotional statements can constitute evidence of an intended use,
            although truthful, non-misleading speech alone cannot be the basis for a
            criminal conviction. [Id.].



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Cf. Caronia, 703 F.3d at 159 (“The district court, in its jury charge, reinforced the idea that

[defendant’s] promotional speech was enough to support a guilty verdict . . . .”). Further, rather

than reinforce the idea that speech itself can be a crime, the Court’s instructions to the jury on

misbranding related to the failure to file premarket notification also omitted any reference to

speech at all: “[A] medical device is also misbranded if the manufacturer introduces the device

into interstate commerce for an intended use that is significantly different from the use covered

by its 510(k) clearance and without submitting a new premarket notification to the FDA

regarding the different intended use.” [Jury Instructions at 36].

       In addition, unlike in Caronia, the Government discussed Defendants’ speech in the

context of establishing their objective intent regarding the intended use of the Stratus. See

Caronia, 703 F.3d at 161. For example, in its closing argument the Government asked the jury to

“look at all of the circumstances surrounding the distribution of the device to figure out what

would be the intended use of the device.” [7/14/16 Tr. at 78:10–13]. The Government also

identified failing to submit premarket notification, rather than speech, as the actus reus of the

misbranding conviction: “Lack of required pre-market notification for its intended use. So

Stratus is intended for use as a drug delivery device. There’s no 510(k) for the Stratus for the

intended use of a drug delivery device.” [Id. at 114:23–115:2].

       The jury’s instructions and the Government’s arguments at closing clearly indicated to

the jury that the actus reus supporting the conviction had to be the Defendants’ failure to submit

a premarket notification for the intended use of drug delivery. It is an “almost invariable

assumption of the law that jurors follow their instructions . . . .” Richardson v. Marsh, 481 U.S.

200, 206 (1987); United States v. Aboshady, 951 F.3d 1, 11 (1st Cir. 2020) (citing Richardson).

Therefore, the Defendants’ speech cannot be assumed to be the basis for the conviction. Rather,



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the instructions and argument made clear that speech could only be used to deduce the

Defendants’ objective intent with regard to the intended use of the Stratus. See Wisconsin, 508

U.S. at 489. Here, the use of speech to actively market and promote the device for off-label use,

as Defendants did, was evidence of their intent that the device be used for a purpose that the

FDA had not approved and was not itself the crime. The Court therefore finds that Defendants’

First Amendment rights were not violated by the conviction. 133

               2.     Alleged Due Process Violation

       Defendants next claim that their Due Process rights were violated by misdemeanor

adulteration and misbranding convictions predicated on strict liability. [ECF No. 484 at 9]. In

particular, Defendants argue that (1) the meaning of “intended use” is impermissibly vague,

(2) the Government’s use of the company’s internal communications exacerbated this vagueness

by improperly expanding the scope of evidence used to determine intended use, and (3) novel

theories were used to hold Defendants strictly liable where scienter was not required. [Id. at 9–

10]; see also [ECF No. 185 at 6–10; ECF No. 194]. In response, the Government states that both

the Supreme Court and the First Circuit have upheld the statute at issue against challenges of

vagueness, [ECF No. 497 at 25–26], that evidence of intended use is not limited to external




133
    The Court is cognizant of arguments made by Amicus Curiae Medical Information Working
Group that truthful, non-misleading statements about off-label use should not be restricted due to
the importance of allowing manufacturers to provide health care practitioners with important
information about their products. See [ECF No. 491 at 22]. The jury verdict and the Court’s
ruling herein, however, do not serve to chill such speech, which FDA guidance permits. See,
e.g., FDA, Revised Draft Guidance for Industry: Distributing Scientific and Medical Publications
on Unapproved New Uses – Recommended Practices (Feb. 2014); FDA, Draft Guidance for
Industry: Responding to Unsolicited Requests for Off-Label Information About Prescription
Drugs and Medical Devices (Dec. 2011); FDA, Guidance for Industry: Industry-Supported
Scientific and Educational Activities, 62 Fed. Reg. 64,093 (Dec. 3, 1997). Regardless of the
merits of this policy argument, this is a change that would have to be effected through the FDA
or Congress.
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communications, [id. at 32–35], and that the lack of a scienter requirement does not violate Due

Process, [id. at 37]. 134

                            a.   Vagueness Challenge

        “The Due Process Clause ‘mandates that, before any person is held responsible for

violation of the criminal laws of this country, the conduct for which he is held accountable

[must] be prohibited with sufficient specificity to forewarn of the proscription of said conduct.’”

United States v. Lachman, 387 F.3d 42, 56 (1st Cir. 2004) (quoting United States v. Anzalone,

766 F.2d 676, 678 (1st Cir. 1985)). “The mere fact that a statute or regulation requires

interpretation does not render it unconstitutionally vague.” Id. The First Circuit recently

reversed a decision from the District of Massachusetts that overturned a misbranding conviction

on vagueness grounds. See United States v. Stepanets, 879 F.3d 367, 374 (1st Cir. 2018). As the

First Circuit noted in its opinion, “no one cites a case—and we know of none—holding any key

[]FDCA provision void for vagueness . . . .” Stepanets, 879 F.3d at 374.

        Beyond the FDCA, Defendants assert that the meaning of “intended use” in FDA

regulations, in particular 21 C.F.R. § 801.4, results in “confusion, ambiguity, and [a]

corresponding lack of fair notice . . . .” [ECF No. 484 at 9–10]. Defendants further argue that

the examples provided in the regulation make clear that manifestations of objective intent are

limited to external communications (“labeling claims, advertising matter”), and that, in this case,

the Government and the FDA inappropriately expanded this to include internal communications.

[ECF No. 484 at 12–13]. For example, Defendants note that in addition to evidence of external

communications that promoted an unapproved intended use of the device, the Government



134
   The Court has already addressed, supra Section III.B.1, the First Amendment arguments that
Defendants incorporate by reference from their motions to dismiss, see [ECF No. 484 at 9], and
will therefore focus on Defendants’ vagueness and strict liability challenges.
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presented evidence of internal design discussions about the Stratus, as well as internal

communications about how to market the Stratus as a drug delivery device. See, e.g., [6/9/16 Tr.

at 146:7–24 (Defendant Facteau gave a presentation to new sales representatives on using the

Stratus for drug delivery); 6/9/16 Tr. at 196:17–23, 6/13/16 Tr. at 10:3–17, 11:10–12:3, 150:6–

14, 6/16/16 Tr. at 37:8–18, 6/21/16 Tr. at 27:23–28:2 (Defendant Fabian approved a physician

discussion guide, which trained sales representatives to ask physicians questions to elicit

discussions about using the Stratus for drug delivery)].

        Section 801.4 of the Code of Federal Regulations defines intended use as referring to an

“objective intent.” 21 C.F.R. § 801.4. The regulation goes on to state that “intent is determined

by such persons’ expressions or may be shown by the circumstances surrounding the distribution

of the article,” and provides examples of such expressions that “may” show objective intent. Id.

Those examples include “labeling claims, advertising matter, or oral or written statements” as

well as “circumstances” demonstrating that the device is “offered and used for a purpose for

which it is neither labeled nor advertised.” Id. The jury’s instructions were consistent with the

regulation:

        The term “intended use” refers to the objective intent of the manufacturer or seller
        of the device. The intent is determined by such persons’ expressions or may be
        shown by the circumstances surrounding the distribution of the device. This
        objective intent may, for example, be shown by labeling claims, advertising matter,
        or oral or written statements by such persons or their representatives. It may be
        shown by the circumstances that the device is, with the knowledge of such persons
        or their representatives, offered and used for a purpose for which it is neither labeled
        nor advertised.
[Jury Instructions at 27]. 135


135
   As noted supra n.1, the FDA has suspended implementation of a revision to § 801.4 that
would remove the final sentence of the regulation (regarding whether “a manufacturer knows, or
has knowledge of facts that would give him notice that a device introduced into interstate
commerce by him is to be used for conditions, purposes, or uses other than the ones for which he

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        In a 1957 case involving misbranding, the First Circuit upheld a conviction where one of

the regulations in question defined “intended use” in the context of drugs using language nearly

identical to the language in § 801.4 that defines “intended use” for devices. V.E. Irons, Inc. v.

United States, 244 F.2d 34, 45 (1st Cir. 1957). Compare 21 C.F.R. § 201.128, with 21 C.F.R.

§ 801.4. Notably, the First Circuit applied the regulation to the case and affirmed the convictions

without questioning the regulation itself. See V.E. Irons, 244 F.2d at 44, 46.

        Similar to the instant case, in V.E. Irons one of the counts of conviction was a

misdemeanor that did not require the Government to prove that the defendants made false or

misleading statements, relying instead on the failure to include certain information on the label.

See id. at 36 (stating that Count I was a misbranding charge for failure to include required

information on labeling); id. at 45–46 (affirming conviction and noting that Count I did not

require the Government to prove false or misleading statements). In V.E. Irons, the First Circuit

held that courts may look to “all relevant sources in order to ascertain what is the ‘intended use’

of a drug” and that it was “entitled to utilize all of appellants’ literature as well as the oral

representations made by the defendant at his lectures or by authorized sales distributors” in order

to determine the intended use of the drug in question. 244 F.2d at 44. Although its opinion did

not explicitly delineate what materials it intended to bring within the scope of “all relevant

sources,” it did not articulate any limitations on the concept. See id. Nor did it say that internal

communications could not be reviewed, only that the court planned to review literature

(including written, printed, and graphic material used by sales distributors) and oral

representations made at lectures, all of which would qualify as external communications. See id.




offers it . . . .”), and the language therefore remains applicable. The Court nonetheless will
proceed by analyzing other relevant language within the regulation.
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           Defendants cite a number of cases in an effort to support their claim that evidence of

intended use is limited to “externally directed statements.” [ECF No. 484 at 14–15]. These

cases, however, do not directly support their position. For example, although a 1995 case from

the Eighth Circuit said that promotional materials are relevant to intent, it did not hold that such

materials were the only relevant source of evidence relative to intent. United States v. Articles of

Drug for Veterinary Use, 50 F.3d 497, 500 (8th Cir. 1995). Defendants also rely on Brown &

Williamson Tobacco Corp. v. FDA, 153 F.3d 155, 163 (4th Cir. 1998), but that opinion omits a

significant portion of a quotation from the lower court’s opinion which states in full: “Although

it is true that no court has ever found that a product is ‘intended for use’ or ‘intended to affect’

within the meaning of the FDCA absent manufacturer claims as to that product’s use, no court

has held that intended use can be established solely by promotional representations.” Coyne

Beahm, Inc. v. United States FDA, 966 F. Supp. 1374, 1390 (M.D.N.C. 1997). In contrast, the

Government cites sufficient support from other jurisdictions for the proposition that objective

evidence of intended use is not limited to external communications. See [ECF No. 497 at 32–

34]. 136




136
   Defendants cite to a 2002 letter from Daniel E. Troy, FDA Chief Counsel, to a manufacturer
seeking FDA guidance regarding the intended use of a specific manufacturer’s medical device.
[ECF No. 484 at 17; ECF No. 501 at 19; ECF No. 485-1 at 33–39 (letter from Daniel E. Troy to
Jeffrey N. Gibbs)]. FDA regulations, however, make clear that such informal communications
are not binding on the Agency:
           A statement or advice given by an FDA employee orally, or given in writing but
           not under this section or § 10.90, is an informal communication that represents the
           best judgment of that employee at that time but does not constitute an advisory
           opinion, does not necessarily represent the formal position of FDA, and does not
           bind or otherwise obligate or commit the agency to the views expressed.

21 C.F.R. § 10.95(k).
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       The language of § 801.4 also fails to establish the limitation urged by Defendants. When

engaging in statutory construction, courts “ordinarily assume, ‘absent a clearly expressed

legislative intention to the contrary,’ that ‘the legislative purpose is expressed by the ordinary

meaning of the words used.’” Jam v. Int’l Fin. Corp., 139 S. Ct. 759, 769 (2019) (quoting Am.

Tobacco Co. v. Patterson, 456 U.S. 63, 68 (1982)). The regulation provides examples of what

may be used to determine “objective” intent, some of which are directed externally (“labeling

claims, advertising matter”), and some of which (“oral or written statements” and

“circumstances”) are not limited to external communications. See 21 C.F.R. § 801.4.

       “Objective” is defined as “[a] thing or class of things external to or independent of the

mind . . . .” 137 This definition brings internal company communications within the field of

materials that may be considered to determine a party’s objective intent with regard to an

intended use. “Subjective,” in contrast, is defined as “[e]xisting in the mind only, without

anything real to correspond to it . . . .” 138 A party’s unexpressed thoughts would therefore fall

within the realm of subjective intent, whereas internal communications are outward expressions

of intent. As noted in a 1994 opinion from the District of Rhode Island:

       It is the objective intent of the vendor, not the vendor’s subjective explanations and
       disclaimers, which determines the intended use of a product, as gleaned not only
       from the vendor’s statements, but from any relevant source, such as promotional
       material, advertising, labeling and other circumstances surrounding the distribution
       of the article.




137
   Objective, Oxford English Dictionary Online,
https://www.oed.com/view/Entry/129634?redirectedFrom=objective#eid (last visited September
11, 2020).
138
   Subjective, Oxford English Dictionary Online,
https://www.oed.com/view/Entry/192702?redirectedFrom=subjective#eid (last visited September
11, 2020).
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United States v. Kasz Enters., 855 F. Supp. 534, 542 (D.R.I. 1994) (discussing analogous

provision at 21 C.F.R. § 201.128). The Court finds that, per the plain language of the regulation,

which is not contradicted by case law or practice, evidence of a party’s objective intent is not

limited to external communications, but can include any “oral or written statements” and

“circumstances,” whether directed internally or externally. 139

       Further, even if the Court were to find that § 801.4 limits evidence of intended use solely

to external communications, the Government provided ample examples of external

communications that evidenced Defendants’ objective intent to sell the Stratus as a drug delivery

device, despite not submitting a PMA or premarket notification for that intended use. See supra

Section II.E.

       In addition, if the Government had been limited to using external communications to

prove the Defendants’ objective intent with regard to intended use of the device, the Government

nonetheless would have been permitted to present evidence of internal communications to

support their alternative theory of the Defendants’ intent to defraud or mislead. See [Jury

Instructions at 42 (“It can be difficult to prove a defendant’s state of mind directly, but a

defendant’s state of mind can be proved indirectly from the surrounding circumstances. This

includes things such as what the defendant said or did, how the defendant acted, and any other

facts or circumstances in evidence that bear on the defendant’s intent.”)]. The Government was



139
    Defendants suggest that “[i]f strategic development plans, design history, and related
communications could be considered evidence of ‘intended use,’ all manufacturers seeking
improvement of their product line would, absurdly, be criminals.” [ECF No. 484 at 13–14]. The
facts in this case do not support such an expansive view. The totality of the evidence submitted
by the Government, including Acclarent’s internal and external materials, was sufficient to prove
that Defendants not only contemplated design improvements that would require FDA approval
but designed and made those improvements, marketed them, and made a conscious decision not
to submit a PMA or premarket notification for this new intended use despite their obligation to
do so. See supra Section II.
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not prohibited from pursuing these alternative theories or from presenting evidence in support of

each. United States v. Mubayyid, 658 F.3d 35, 70 (1st Cir. 2011) (“It is well established that an

indictment may charge alternative theories of guilt in the conjunctive, and that, ‘[w]hen a jury

returns a guilty verdict on an indictment charging several acts in the conjunctive, the verdict

stands if the evidence is sufficient with respect to any one of the acts charged.’” (quoting United

States v. Murray, 621 F.2d 1163, 1171 n.10 (1st Cir. 1980))).

                       b.      Strict Liability Challenge

       Finally, the Court does not find the Defendants’ strict liability arguments persuasive in

light of its findings regarding the lack of vagueness in § 801.4’s definition of intended use.

Supreme Court precedent also supports the Court’s findings in the context of corporate officer

liability. In United States v. Park, the Supreme Court held that a corporate officer could be

convicted for misdemeanor adulteration even without proof that he had knowledge of

wrongdoing. 421 U.S. 658, 672–73 (1975). The Supreme Court specifically stated that

“Congress has seen fit to enforce the accountability of responsible corporate agents dealing with

products which may affect the health of consumers by penal sanctions cast in rigorous terms, and

the obligation of the courts is to give them effect so long as they do not violate the Constitution.”

Id. at 673; see also United States v. Stepanets, 362 F. Supp. 3d 22, 24 (D. Mass. 2019) (declining

to overrule Park on Due Process grounds). This clearly indicates that the Supreme Court did not

find that holding a defendant strictly liable as a responsible corporate officer violated Due

Process.

       As a result, Defendants’ assertion that the strict liability offenses for which they were

convicted violate Due Process is unavailing. See [ECF No. 484 at 26–27]; see also United States

v. Freed, 401 U.S. 601, 607 (1971) (noting that a mens rea requirement is often not required for



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criminal “activities affecting public health, safety, and welfare.” (citing Morissette v. United

States, 342 U.S. 246, 251 (1952))); United States v. DeCoster, 828 F.3d 626, 633 (8th Cir. 2016)

(affirming a conviction under the FDCA where there was no mens rea requirement and noting

that a maximum statutory penalty for a misdemeanor of one year does not violate Due Process).

The Court therefore finds that Defendants’ convictions do not violate Due Process. 140

               3.      Sufficiency of Evidence on Adulteration and Misbranding

       The Defendants next claim that acquittal is warranted because the Government provided

no evidence that Acclarent “created a new ‘intended use’ of drug delivery for the Stratuses

shipped” in the ten transactions alleged in the Indictment. [ECF No. 484 at 28]; see also

[Indictment ¶¶ 142, 144]. More specifically, Defendants argue that the Government had to link



140
    Very fundamentally, our criminal justice system is premised on the idea that one should be
punished for unlawful acts undertaken with some level of criminal intent. The Park or
responsible corporate officer doctrine, however, allows individuals to be criminally prosecuted
even absent any proof of the individual’s knowledge about or participation in the charged
offense. See 421 U.S. at 673. This approach, which is typically used in cases involving the food
and drug industries, is often justified by the need to hold executives to the highest standard when
they are responsible for goods which directly affect people’s lives and health, and where the
consumer is in no position to ensure or evaluate the safety of the drug or food item at issue. See
Freed, 401 U.S. at 607. Even so, there is something troubling about a criminal conviction based
on strict liability in a situation where the accused may legitimately have had no idea what was
going on far below him on the corporate ladder, but is nonetheless held criminally responsible
simply by virtue of his position. This unease with the idea of strict liability in the criminal
context is reflected in United States v. DeCoster, 828 F.3d 626 (8th Cir. 2016), cert denied, 137
S. Ct. 2160 (2017). In that case, Judge Murphy, writing for the majority, found both that the
responsible corporate officer doctrine implies an aspect of blameworthiness, but also that the
record showed that the defendants in that case were “liable for negligently failing to prevent the
salmonella outbreak” at issue in the case. Id. at 633. Judge Gruender concurred but wrote
“separately in order to make clear [his] view that Park requires a finding of negligence in order
to convict a responsible corporate officer” and joined Judge Murphy only because he and the
district court found the defendants negligent. Id. at 637 (Gruender, J., concurring). Finally,
Judge Beam dissented based on his belief that Due Process requires mens rea for a criminal
conviction. Id. at 640 (Beam, J., dissenting). This Court, however, does not need to grapple
with the limits of Park and strict liability in the context of this case because the evidence here
clearly demonstrated that Defendants directly and personally participated in the charged conduct.
See supra Section II.
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external communications about use of the Stratus for drug delivery to a particular customer or

account. [ECF No. 484 at 29–30]. 141 In opposing this claim, the Government states that “it was

reasonable for the jury to conclude that every distribution of Stratus was a crime” based on

Acclarent’s nationwide promotion of the device for a new intended use and the company’s

failure to obtain FDA approval for that use. [ECF No. 497 at 42–43].

       As noted in Section III.B.2, supra, the Court has determined that there was sufficient

evidence for the jury to find beyond a reasonable doubt that the Defendants’ objective intent was

to promote the Stratus for drug delivery but without the required notice under § 352(o). With

Defendants’ objective intent establishing a new intended use for which they did not notify the

FDA, the sole remaining question is whether they introduced the misbranded device into

interstate commerce under 21 U.S.C. § 331(a). Nowhere in § 801.4 is there a requirement that

evidence of intended use be linked to a specific customer to establish objective intent. See 21

C.F.R. § 801.4. Nor does the regulation require a party to intend that a device be used a certain

way in a certain state. See id.

       Defendants cite “a long line of cases” that do not, in fact, support their novel theory about

connecting the intended use communications with individual transactions. [ECF No. 484 at 30;

ECF No. 501 at 24]. For example, Defendants claim that the Supreme Court in Kordel v. United

States held that a product must be accompanied by improper promotional statements in order to

prove misbranding. [ECF No. 484 at 30 (citing 335 U.S. 345, 349 (1948)]. But in Kordel, the

Supreme Court, although discussing an issue different from intended use, stated that labeling was

not required to physically accompany a product because it would “create an obviously wide




141
   Defendants did not request a jury instruction to this effect. See [ECF No. 318 (Defendants’
proposed jury instructions)].
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loophole to hold that . . . drugs would be misbranded if the literature had been shipped in the

same container but not misbranded if the literature left in the next or in the preceding mail.” 335

U.S. at 349. Similarly, Defendants cannot avoid culpability by claiming that promotional

materials directed to physicians within Massachusetts did not necessarily “accompany” the

specific shipments identified in the Indictment. [ECF No. 484 at 30–31]. Articles of Drug for

Veterinary Use, also cited by Defendants, states that promotional materials are relevant to

intended use as long as they are either currently being distributed or customers continue to rely

on representations made in previously distributed materials. 50 F.3d at 500.

       The Government provided ample evidence of promotional activities directed specifically

at Massachusetts physicians and more nationally regarding the use of the Stratus for drug

delivery. [6/20/16 Tr. at 98:18–22 (testimony of Acclarent sales representative Logan stating

that she discussed Stratus’ use with Kenalog-40 with doctors in her Massachusetts territory

“every day”); 6/15/16 Tr. at 124:8–17 (testimony of Dr. Chong, physician at Massachusetts Eye

and Ear, stating that Logan described the Stratus as a device that would elute medication slowly,

as required for drug delivery); 6/20/16 Tr. at 80:24–81:4, 85:10–23 (discussing an email from

Logan to doctors at Massachusetts Eye and Ear that described Stratus as “a reservoir for . . . .

temporary direct delivery of a fluid solution”)]. 142



142
   Defendants cite two other cases. In Nature Food Centers, Inc. v. United States, the First
Circuit rejected a defendant’s contention that directions for use on lecture notes satisfied labeling
requirements and affirmed the defendant’s conviction for misbranding. 310 F.2d 67 (1st Cir.
1962). The opinion did not suggest that there could be no misbranding conviction because the
notes were not available where the product was sold. See id. In United States v. An
Undetermined Number of Cases, the Second Circuit found there was insufficient evidence to
support a misbranding charge for misleading labeling where a book touting a formula was sold
near a product that contained that formula and where the parties responsible for each were
unrelated entities. 338 F.2d 157 (2d Cir. 1964). This is clearly distinguishable from this case, in
which Acclarent made the representations regarding the intended use, failed to file premarket
notification for the intended use, and sold the device in question.
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       Defendants have provided no case law supporting their position and the Court finds that

the relevant statute and regulations require no showing of a connection between external

communications about using the Stratus for drug delivery and the specific transactions alleged in

the Indictment.

               4.      Whether Adulteration and Misbranding Convictions Are Mutually
                       Exclusive

       Defendants next state that their convictions on Counts 9–13 and 14–18, for misdemeanor

adulteration and misbranding respectively, are mutually exclusive. [ECF No. 484 at 35]. Counts

9–13 charged Defendants with distribution of an adulterated device based on the failure to file a

PMA, and Counts 14–18 charged Defendants with distribution of a misbranded device based on

the failure to file an appropriate premarket notification, such as a 510(k). [Indictment ¶¶ 141–42;

143–44]. To obtain permission to market the Stratus for the new intended use of drug delivery,

Defendants were required to file a PMA or to submit a premarket notification but they did

neither. 143 See [6/7/16 Tr. at 87:10–25, 124:2–14]. Defendants now contend that when a device

is required to have either a PMA or a 510(k), but not both, convictions for failing to obtain both

are mutually exclusive and cannot stand. [ECF No. 484 at 35].

       “[T]he Supreme Court has made it clear that verdict inconsistency in and of itself is not a

sufficient basis for vacating a conviction.” United States v. Lopez, 944 F.2d 33, 41 (1st Cir.

1991) (citing United States v. Powell, 469 U.S. 57 (1984)). “An inconsistent verdict does not

require vacating a criminal conviction as long as the appellate court is satisfied that there was

sufficient evidence to sustain the counts of conviction.” United States v. Sullivan, 85 F.3d 743,

747 (1st Cir. 1996). For example, if a jury convicts on a conspiracy charge, yet acquits “the



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   In the remainder of this section, for ease of reading, the Court will refer to permission to sell
the Stratus, by which it means permission to market the Stratus for a new intended use.
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same defendant on the substantive charge alleged to have been the object of the conspiracy,”

such an inconsistency does not warrant vacating the conspiracy conviction. Lopez, 944 F.2d at

41.

       The rule permitting inconsistent verdicts does not necessarily apply, however, in “a

situation where a defendant is convicted of two crimes, where a guilty verdict on one count

logically excludes a finding of guilt on the other.” Powell, 469 U.S. at 69 n.8 (citing United

States v. Daigle, 149 F. Supp. 409, 414 (D.D.C. 1957), aff’d, 248 F.2d 608 (D.C. Cir. 1957)).

This narrow exception for so-called mutually exclusive verdicts arises only “where the defendant

was ‘convicted of two crimes, at least one of which he could not have committed.’” United

States v. Maury, 695 F.3d 227, 265 (3d Cir. 2012) (quoting United States v. Gross, 961 F.2d

1097, 1107 (3d Cir. 1992)). In other words, “a conviction as to one of the crimes must negate an

element of the other.” Id. at 266. “If based on the evidence presented to the jury any rational

fact finder could have found a consistent set of facts supporting both convictions, due process

does not require that the convictions be vacated.” Masoner v. Thurman, 996 F.2d 1003, 1005

(9th Cir. 1993).

       Courts have determined that convictions are mutually exclusive where, for example, a

defendant is convicted of both embezzlement and larceny for the same underlying conduct,

Daigle, 149 F. Supp. at 414, or of both robbery and extortion, United States v. Torres-

Concepcion, No. 08-cr-00213, 2010 WL 11505917, at *2 (D.P.R. Mar. 16, 2010) (“[I]t is

factually impossible for the evidence to establish that [the defendant] committed both [robbery

and extortion] regarding the same property, victim, and occasion.”); see also United States v.

Bethea, 483 F.2d 1024, 1029–30 (4th Cir. 1973) (convictions for failure to keep draft board

advised of current address and failure to report for induction were mutually exclusive, because



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one offense required defendant to have provided valid address, while other conviction depended

on lack thereof); Thomas v. United States, 314 F.2d 936, 939 (5th Cir. 1963) (convictions of

smuggling marijuana into United States and failing to pay transfer tax mutually exclusive where

one offense depended on defendant having acquired marijuana outside of United States, while

other was predicated on defendant having obtained marijuana within United States).

       Adulteration and misbranding concern requirements that a manufacturer must satisfy

before introducing a medical device into the market, with the specific requirements of each

depending on the classification of the device. The Medical Device Amendments of 1976

“classifies medical devices in three categories based on the risk that they pose to the public.”

Medtronic, 518 U.S. at 476; see also 21 U.S.C. § 360c(a)(1). Every new medical device

introduced into the market after 1976 is initially classified as a Class III device. 21 U.S.C.

§ 360c(f)(1). To obtain permission to sell a Class III device, a manufacturer must ordinarily go

through the PMA process, which consists of a “rigorous” review by the FDA that takes an

average of 1,200 hours to complete. Medtronic, 518 U.S. at 477.

       Alternatively, a manufacturer may submit a “premarket notification” to the FDA, most

commonly in the form of a 510(k) submission, on the basis that the device is “substantially

equivalent” to an existing device. Id. In contrast to the PMA process, the 510(k) review is much

faster, taking an average of about 20 hours. Id. If the FDA grants the 510(k) application, the

device is reclassified into Class I or II. 21 U.S.C. §§ 351(f)(1)(B), 360c(f). A Class III device is

deemed to be adulterated unless the manufacturer has obtained a PMA. 21 U.S.C.

§ 360c(f)(2)(B)(ii); see also 21 U.S.C. § 360e. In addition, a Class III device is misbranded

unless the manufacturer has filed a premarket notification, such as a 510(k); however, if the

manufacturer has a PMA application pending, the premarket notification is not required. 21



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U.S.C. §§ 352(o), 360(k); 21 C.F.R. § 807.81.

       Defendants claim that because a device is required to have either a PMA or a 510(k) for a

particular intended use, but not both, their convictions for adulteration and misbranding are

mutually exclusive. [ECF No. 484 at 35]. They contend that the only way the jury could have

found Defendants guilty of adulteration was to conclude that the Stratus was required to have a

PMA, but not a 510(k), and that conversely, the jury could have only found Defendants guilty of

misbranding if they determined that the device was required to have a 510(k), but not a PMA.

[Id. at 38–39].

       There is no inherent contradiction in being convicted of distributing a device that is both

adulterated and misbranded, despite Defendants’ attempts to suggest otherwise. The jury could

have reasonably found that the Stratus was adulterated because it was a Class III device for

which no PMA had been obtained, see 21 U.S.C. §§ 360c(f)(2)(B)(ii), 360e, and that the Stratus

was misbranded because it was a Class III device for which the manufacturer had not filed a

premarket notification, such as a 510(k), 21 U.S.C. §§ 352(o), 360(k). Because a pending PMA

application can provide the requisite premarket notice, relieving the manufacturer of the need to

file a 510(k), 21 C.F.R. § 807.81, the filing of a PMA would have ensured that the Stratus was

neither adulterated nor misbranded. Because Defendants did not file a PMA, however, the

device was adulterated, and because the defendants filed neither a 510(k) nor a PMA, the device

was misbranded.

       Essentially, Defendants imply that because filing a PMA would have negated an element

of both offenses, the convictions are mutually exclusive. See [ECF No. 484 at 41]. For

convictions to be mutually exclusive, however, an element that must be present to convict on one

offense has to necessarily negate an element that must be present to convict on the other offense.



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See Maury, 695 F.3d at 265 (mutually exclusive conviction present only when “a conviction as

to one of the crimes must negate an element of the other”). Defendants have not identified such

an element here, nor can they. Failure to file a PMA is the crucial element of adulteration, and

failure to file a 510(k) or a PMA are the key elements of misbranding. Defendants’ conduct

could satisfy the elements of both crimes. The fact that adulteration and misbranding share some

common elements does not mean that Defendants can only be convicted of one or the other.

        In addition, Defendants assert that the only way they could be convicted of both

adulteration and misbranding would be if the Stratus were simultaneously categorized as both

Class I and Class III, because, as Defendants frame it, a manufacturer must file a 510(k), on a

device that is classified as Class I or II, whereas a device that requires a PMA must be a Class III

device. 144 [ECF No. 484 at 40]. This attempt to flip the statutory scheme on its head is not

persuasive. Devices are not classified according to whether or not a PMA or premarket

notification is required; rather, devices are assigned to Class I, II, or III based on their risk to the

public. Medtronic, 518 U.S. at 476–77. The requirements that must be satisfied by a

manufacturer to sell a device depend on how the device is categorized, not the other way around.

Id.; 21 U.S.C. § 360c(a)(1). As relevant here, the manufacturer of a Class III device must either



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    Defendants rely in part on an FDA webpage to support their argument that a Class III device
does not require a 510(k), but they quote selectively from that page. The relevant text, in its
entirety, reads: “For Class III devices, a premarket approval application (PMA) will be required
unless your device is a preamendments device (on the market prior to the passage of the medical
device amendments in 1976, or substantially equivalent to such a device) and PMA’s have not
been called for. In that case, a 510k will be the route to market.” Classify Your Medical Device,
FDA,
https://www.fda.gov/MedicalDevices/DeviceRegulationandGuidance/Overview/ClassifyYourDe
vice/default.htm (last updated February 7, 2020). This text simply reiterates the same scheme
laid out supra: that a manufacturer need not submit a PMA if the device is “substantially
equivalent” to an existing device, in which case the manufacturer should file a 510(k).
Furthermore, even if the webpage stated otherwise, a webpage may provide clarification, but is
not legal authority.
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file a 510(k) or have a PMA application pending to avoid misbranding. 21 U.S.C. §§ 352(o),

360(k); 21 C.F.R. § 807.81. Thus, it is not true that only Class I or II devices require a 510(k).

A Class III device requires a 510(k) to prevent misbranding, unless a substitute document that

satisfies the statutory requirements has been filed. 21 C.F.R. § 807.81. Accordingly, there is no

inherent contradiction in Defendants’ adulteration and misbranding convictions, which are both

accurately premised on the Stratus’ classification as a Class III device.

       Thus, Defendants’ First Amendment, Due Process, sufficiency of the evidence, and

inconsistent verdict arguments are all insufficient to overcome their burden to demonstrate “that

the evidence presented at trial, even when viewed in the light most favorable to the government,

did not suffice to prove the elements of the offenses beyond a reasonable doubt.” See Acevedo,

882 F.3d at 257. Viewing the evidence and “all plausible inferences drawn therefrom, in the

light most favorable to the verdict,” the Court finds that acquittal under Federal Rule of Criminal

Procedure 29 is not warranted. See Meléndez-González, 892 F.3d at 17.

IV.    NEW TRIAL UNDER RULE 33

       A.      Legal Standard

       On a motion for a new trial under Federal Rule of Criminal Procedure 33, “the court may

vacate any judgment and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P.

33(a). “In considering a motion for a new trial, district courts may ‘weigh the evidence and

evaluate the credibility of witnesses, . . . [but] the remedy of a new trial is sparingly used, and

then only where there would be a miscarriage of justice and where the evidence preponderates

heavily against the verdict.’” Merlino, 592 F.3d at 32 (quoting United States v. Wilkerson, 251

F.3d 273, 278 (1st Cir. 2001)). “[I]t is only where exceptional circumstances can be

demonstrated that the trial judge may intrude upon the jury function of credibility assessment.”



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Id. at 32–33 (internal quotation marks omitted). “A district court ‘judge is not a thirteenth juror

who may set aside a verdict merely because he would have reached a different result.’” United

States v. Rivera-Rangel, 396 F.3d 476, 486 (1st Cir. 2005) (quoting United States v. Rothrock,

806 F.2d 318, 322 (1st Cir. 1986)).

       In addition, on a Rule 33 motion the Court may “consider whether its evidentiary rulings

at trial were correct.” United States v. DiMasi, 810 F. Supp. 2d 347, 362 (D. Mass. 2011)

(citing Wilkerson, 251 F.3d at 279–80). “However, a new trial is justified only if an error

concerning the admission of evidence was made and the error was not ‘harmless,’” meaning that,

even if an error was made, “it is highly probable that the error did not contribute to the

verdict.” Id. (quoting Wilkerson, 251 F.3d at 280).

       Where a defendant raises allegations of prosecutorial misconduct, the Court must

consider whether “several incidents of prosecutorial misconduct, none of which would separately

constitute grounds for mistrial, could have a cumulative impact on the jury sufficient to affect the

trial’s outcome.” United States v. Wihbey, 75 F.3d 761, 773 (1st Cir. 1996). In evaluating the

impact of these claims, courts

       weigh several factors in determining “whether prosecutorial misconduct has so
       poisoned the well that a new trial is required: (1) the severity of the misconduct; (2)
       the context in which it occurred; (3) whether the judge gave any curative
       instructions and the likely effect of such instructions; and (4) the strength of the
       evidence against the defendant.”

United States v. Robinson, 473 F.3d 387, 398 (1st Cir. 2007) (quoting United States v. Casas,

425 F.3d 23, 38 (1st Cir. 2005)). These factors “are meant merely to guide the court’s inquiry

into whether the prosecutor’s improper comments have undermined the fairness of the trial.”

United States v. Carpenter, 494 F.3d 13, 23 (1st Cir. 2007).




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       B.      Defendants’ Asserted Grounds for a New Trial

       Defendants claim that the Government’s use of improper evidence warrants a new trial

based on the pervasive effect of the errors taken together. [ECF No. 484 at 5, 41]. The

Government disputes the nature of Defendants’ claims as well as the effect of the alleged errors

on the outcome at trial. [ECF No. 497 at 49–57]. As discussed below, Defendants’ claims

include six specific grounds for relief. [ECF No. 484 at 41–53].

               1.    Misleading and Improper Arguments About the Safety Profile of the Stratus

       Defendants first argue that the Government presented “misleading, unsupported, and

inflammatory assertions” to the effect that Defendants’ conduct placed patients at risk. [ECF No.

484 at 41–42]. The Government counters this by stating that it presented necessary information

about how the device worked and its potential risks. [ECF No. 497 at 50–52].

       Defendants mischaracterize certain statements made by the Government. For example,

during its opening statement the Government described how a doctor would insert a Stratus using

a “super sharp needle” called a trocar. [6/7/16 Tr. at 28:14]. This description was accurate and

was also consistent with the testimony of Defendants’ own witnesses, one of whom, Dr.

Catalano, described the insertion process as follows: “this little metal spear, if you will, was used

to pierce the bone. It’s thin bone; it’s not heavy bone like your skull.” [7/12/16 Tr. at 11:17–

18]. 145 Thereafter, when discussing a “paper-thin barrier,” the Government was not, as

Defendants suggest, making an association between that area of the sinuses and the needle

inserting the device to suggest that insertion of the device was dangerous, but was instead

discussing the location of drug delivery: “There’s a big difference between doing that and




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   Defendants’ witness, Dr. Hoisington, testified that he did not use a trocar to insert the Stratus
due to safety concerns. [7/8/16 Tr. at 119:9–120:4].
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releasing the drug as a liquid directly into a space inside your head that is located right next to

your eyes and separated from your brain by only a paper-thin barrier.” [6/7/16 Tr. at 29:17–20].

       The Government did, as Defendants state, elicit testimony about the risks of inserting

such a device into a patient, but these risks were associated with physician error, rather than the

device itself. [ECF No. 484 at 42 (citing testimony of Government witness Dr. Armstrong);

6/8/16 Tr. at 151:21–23 (testimony of Dr. Armstrong: “Well, the—the intuitive fears that all of—

that I would have as a potential user of the device, is I hope I don’t stick this sharp device in the

wrong place.”)]. With regard to the use of the device itself, Defendants cite several risks

discussed by the Government without denying the veracity of those risks. [ECF No. 484 at 42–

43 (discussing low rate of adverse effects without denying risks)].

       Defendants had the opportunity to cross-examine witnesses and challenge any allegations

regarding the safety and risk profile of the Stratus. Defendants also took the opportunity to

object to aspects of this evidence and in certain instances the Court limited the Government’s

presentation of this evidence under Federal Rule of Evidence 403. See, e.g., [6/14/16 Tr. at

119:19–24, 121:20–22]. At root, the Stratus was inserted with a sharp needle into an area of the

sinuses that was near to the brain: both parties discussed the method of inserting the device into

patients and both used language consistent with the procedure. There is therefore no reasonable

argument that the Government’s presentation of evidence on this issue rose to a level that would

justify a finding of prosecutorial misconduct or otherwise warrant a new trial.

       In addition to allegedly inappropriate comments about safety, Defendants also reference

comments made during the Government’s closing and rebuttal arguments. [ECF No. 484 at 44].

For example, during the Government’s closing, when discussing the general purpose of the FDA

approval process, the Government stated:



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          Because there is a system in place to check products first before they get tested on
          the American population, before the American population gets to be used as guinea
          pigs. And everyone who has a great idea about a drug or medical device, they have
          to go through the process.

[7/14/16 Tr. at 130:1–6]. Although the jury could have drawn an inference with regard to

Defendants’ conduct, the Government did not specifically state that Defendants had treated

patients like guinea pigs. Further, Defendants requested and the Court provided curative

instructions to the jury close in time to when the statement was made. [7/14/16 Tr. at 141:10–

20]. 146 “[C]urative instructions are ‘ordinarily an appropriate method of preempting a mistrial.’”

United States v. Peake, 804 F.3d 81, 95 (1st Cir. 2015) (quoting United States v. Trinidad-

Acosta, 773 F.3d 298, 308 (1st Cir. 2014)). In sum, the Court finds that the Government’s

statement was not unduly inflammatory in the broader context of the Government’s closing

statements which concerned the purposes of requiring companies to seek FDA approval for new

devices, and further, that the Court’s curative instructions were sufficient. See [7/14/16 Tr. at

130:1–17, 141:10–20]; Peake, 804 F.3d at 95 (holding that, where “the district court acted timely

and decisively to instruct the jury in great detail to disregard the offending statements” made by

the government during its opening statement and where the evidence weighed heavily in favor of

the verdict, a new trial was unwarranted).




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      The Court instructed the jury as follows:

          At the close of her closing, Ms. Bloom made some comments about incentivizing
          the behaviors of others and generalizing as to why following the FDA process is
          important. I want to caution you that you must decide this case solely based on the
          facts presented to you in this courtroom and based on the conduct of these
          defendants. You’re not to be fueled by any considerations of the system, device
          testing or the mission of the FDA.

[7/14/16 Tr. at 141:10–17]. The Court asked the parties if they felt the instruction was sufficient
and both parties agreed that it was. [Id. at 141:18–20].
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       Finally, Defendants allege that the Government’s statement during rebuttal in response to

arguments about the lack of evidence of patient harm was prejudicial and inflammatory. [ECF

No. 484 at 44–45]. Defendants quote only a snippet of the Government’s statement, however,

and the full context indicates that the Government was responding to a statement made during

defense counsel’s closing: “Now, it is true, Mr. Weingarten said, [n]o one was hurt, so why are

we here in criminal court? But just because this time no one died doesn’t mean the process

doesn’t matter.” [7/15/16 Tr. at 132:13–15]. This was a fair rebuttal to counsel for Defendant

Facteau’s closing argument where he said: “[B]ut the point, to me, the real issue is the potential

harm done, and none was shown.” [7/15/16 Tr. at 84:24–25]. The Government’s rebuttal

statement was not a gratuitous comment meant to inflame the jury, but rather a relevant

counterpoint to statements made by counsel for Defendant Facteau during his closing. See

United States v. Machor, 879 F.2d 945, 956 (1st Cir. 1989) (“Although the government is not

entitled to ‘fight fire with fire’ at all costs, the fact that defense counsel comments ‘invited a

reply’ is a relevant consideration.”).

       A new trial is not justified where, as here, any errors in the admission of evidence

concerning the safety of the device were harmless in that it is unlikely those errors contributed to

the verdict. See DiMasi, 810 F. Supp. 2d at 362 (quoting Wilkerson, 251 F.3d at 280). As to the

Government’s remarks during closing and rebuttal statements, the Supreme Court has “warned

courts against giving too much weight to stray remarks in the course of a closing argument or

assuming that the jury would interpret each and every statement in the most damaging manner

possible.” Dagley v. Russo, 540 F.3d 8, 17 (1st Cir. 2008) (citing Donnelly v. DeChristoforo,

416 U.S. 637, 647 (1974)). Defendants have not plausibly alleged that the Government was not

entitled to present evidence of the safety of the device when Defendants did the same and also



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had ample opportunity to cross-examine the Government’s witnesses and challenge any alleged

inaccuracies. Nor can Defendants select snippets from the record, taken out of context, to

fashion a colorable claim of inflammatory remarks made to prejudice the jury. The Court finds

no merit in Defendants’ allegations with regard to prosecutorial misconduct connected to the

statements, referenced supra, concerning the safety profile of the Stratus.

               2.      Refusal to Immunize Debra Cogan

       Defendants argue that they were unfairly prejudiced by the Government’s refusal to

immunize Debra Cogan, a senior regulatory employee at Acclarent. [ECF No. 484 at 45–46].

Defendants believe that Cogan’s testimony was “critical” to their misdemeanor convictions

because she had insight into how Acclarent regulatory employees attempted to comply with the

FDA rules regarding off-label discussions with physicians. [Id. at 45]. The Government, in turn,

argues that they had no obligation to immunize Cogan and that Defendants could have called any

of Acclarent’s five other regulatory and legal personnel to testify on the same matters. [ECF No.

497 at 52].

       Due Process acts as a constraint on prosecutors’ decisions regarding immunity but

“operates at the margins of the prosecutor’s discretion and takes on a practical significance only

when the prosecutor deliberately aspires to distort the factfinding process.” United States v.

Chan Hok Shek, No. 08-cr-10317, 2010 U.S. Dist. LEXIS 119484, at *28 (D. Mass. Nov. 10,

2010) (citing Curtis v. Duval, 124 F.3d 1 (1st Cir. 1997)). Defendants cite no evidence of bad

faith on the part of the Government in choosing not to immunize Cogan, nor do they refute the




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Government’s claim that there were several other potential witnesses that Defendants could have

called to elicit similar testimony. See [ECF No. 484 at 45–46]. 147

       Further, whether Acclarent employees followed their regulatory department’s rules

regarding off-label communications with physicians is irrelevant to the Defendants’ convictions.

As discussed at length supra, Defendants were not convicted for their communications or their

employees’ communications with physicians, but rather were convicted for failing to obtain

PMA approval or to submit premarket notification for a new intended use. Cogan’s testimony

regarding approved off-label communications with physicians would not have explained why

Defendants avoided seeking FDA approval for a new intended use for the Stratus device or

otherwise negate any element of the offenses of conviction. In addition, as the Government

notes, the testimony of Cogan was primarily relevant to Defendants’ good faith defense to the

fraud charges on which they were acquitted. [ECF No. 497 at 52]; United States v. Berroa, 856

F.3d 141, 160 (1st Cir. 2017) (finding no misconduct in refusing to immunize a witness where

their testimony would have been of minimal value and where other witnesses were available to

provide similar testimony).

               3.     Implications Regarding On-Label Use of Stratus

       Defendants next contend that the Government improperly implied that no doctor used the

Stratus with saline and that the device did not function purely as a spacer. [ECF No. 484 at 46].

The Government, in contrast, states that because they were entitled to ask witnesses about their




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    The Government improperly stated during rebuttal that Defendants had a right to call
witnesses to contradict the Government’s case, without naming Cogan in particular. [7/15/16 Tr.
at 124:9–11]. The Court instructed the jury to disregard this statement. [Id. at 161:20–162:2];
see United States v. Dwyer, 238 F. App’x 631, 655–56 (1st Cir. 2007) (concluding that any harm
from prosecution’s improper statements in rebuttal argument was remedied by court’s
supplemental instructions to jury).
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on- and off-label use of the Stratus, this line of questioning was not improper. [ECF No. 497 at

54].

       In support of their argument, Defendants state that the Government elicited testimony

from witnesses that suggested that no doctor used or would have used the Stratus with saline,

despite knowing prior to trial that doctors did use the Stratus with saline and then hearing

testimony at trial from defense witness Dr. Hoisington regarding his own use of the Stratus with

saline. [ECF No. 484 at 46]. Dr. Hoisington, formerly a member of Acclarent’s SAB, also

testified that he and other doctors believed the Stratus had value as a spacer without the use of

saline or Kenalog-40. [Id. at 46]. As the Government points out, however, Dr. Hoisington

seemingly changed his position on this issue prior to trial as reflected in his trial testimony.

[ECF No. 497 at 54]. During a pre-trial interview with federal agents, Dr. Hoisington

acknowledged that he used the Stratus with Kenalog-40, and further, a video shown to jurors at

trial also showed Dr. Hoisington promoting the Stratus as a “drug delivery device” and

explaining how it could be used with Kenalog-40. [7/8/16 Tr. at 183:1–13 (interview with

agents); 6/8/16 Tr. at 45:24–46:4, 49:7–10, 49:17–50:5, 54:17–55:6 (video)]. The Government

also introduced into evidence a May 2008 email in which Dr. Hoisington wrote, “I am not sure

why I would put something into the ethmoid [sinus] that has disease present and then only put

saline in. Does this make any sense to you?” [6/23/16 Tr. at 85:1–16]. In addition, Dr.

Hoisington confirmed that he was unable to identify a patient file in which he used the Stratus

with saline. [7/8/16 Tr. at 182:20–22]. 148




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    Defendants fail to note that two of their own witnesses, Drs. Catalano and Levine, also
testified that that they never used the device with saline and did not know of any doctors who
used the device with saline. [7/12/16 Tr. at 65:18–66:3, 66:20–22, 67:2–5, 67:11–17; 7/11/16 Tr.
at 139:23–140:1, 229:3–230:2].
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       The Government presented sufficient evidence for the jury to decide beyond a reasonable

doubt that Defendants’ actions demonstrated an objective intent with regard to the use of the

Stratus for drug delivery. See supra Section II; see also Merlino, 592 F.3d at 32 (“[T]he remedy

of a new trial is sparingly used, and then only where there would be a miscarriage of justice and

where the evidence preponderates heavily against the verdict.”). Even if some physicians used

the device for an on-label purpose, thereby allowing an inference that at least some physicians

received on-label information about the device, the Government provided ample evidence

demonstrating that the Defendants were actively marketing the product for an off-label use for

which they had not obtained FDA approval. See, e.g., [6/8/16 Tr. at 49:1–50:5 (trial testimony

of Dr. Armstrong, stating that representatives of Acclarent promoted off-label use at a marketing

event); 6/9/16 Tr. at 210:24–211:19 (discussing GX2424, a sell sheet containing a photograph of

the Stratus being used with Kenalog-40 and no discussion of use of the device with saline);

6/10/16 Tr. at 98:16–18 (testimony of sales representative Vanderkarr stating that she never

heard of a physician using the Stratus with saline)].

       For the purposes of a Rule 33 motion, “it is only where exceptional circumstances can be

demonstrated that the trial judge may intrude upon the jury function of credibility assessment.”

Merlino, 592 F.3d at 32–33. Exceptional circumstances are not present here, where jurors made

reasonable credibility determinations as between witnesses who claimed to have used the Stratus

with saline and as a standalone spacer and witnesses who said they never used the device for

those purposes, but instead used it solely for drug delivery. United States v. Lipscomb, 539 F.3d

32, 40 (1st Cir. 2008) (“Credibility determinations are squarely within the jury’s province, and

we will not disturb them unless there is no reasonable way a jury could have found the witnesses

believable.”).



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          Finally, the Government was entitled to present testimony indicating that few, if any,

doctors used the Stratus as a spacer or with saline in order to support their alternative theory

regarding Defendants’ allegedly false and misleading conduct. Mubayyid, 658 F.3d at 70 (“It is

well established that an indictment may charge alternative theories of guilt in the conjunctive

. . . .”). Evidence supporting the alternative theory was not improper and the jury’s verdict

indicates that it was not confused by the presentation of evidence in support of the Government’s

various theories.

                 4.      Failure to Correct Incorrect Testimony

          Defendants allege that the Government failed to correct testimony given by one of its

witnesses, Steffen, after another witness, Convery, contradicted that testimony. [ECF No. 484 at

48]. The Government responds that Convery’s testimony wavered and that his testimony did not

necessarily indicate that Steffen’s testimony was false. [ECF No. 497 at 55].

          Steffen testified first and stated that Convery had presented training slides to Acclarent’s

new hires in early 2010 that included discussion of the Stratus as a drug delivery device.

[6/14/16 Tr. at 77:14–17, 88:11–89:3, 89:15–20]. Convery testified several days later and first

testified that he could not remember the specifics of individual presentations he had given

because he had presented the information many times. [6/16/16 Tr. at 173:13–174:6]. When

asked again, Convery said that “as far as [he] kn[e]w,” a presentation dated April 2010, which

did not include a reference to the Stratus, was the one he presented to Steffen. [Id. at 176:24–

177:1].

          Defendants cast Steffen’s testimony as false, rather than acknowledging that witnesses

can and often do have differing memories of events and that such differences alone do not prove

that one witness is lying, or require the Government to determine if one witness or the other



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testified falsely. See [ECF No. 484 at 48–50]; United States v. Doherty, 867 F.2d 47, 70 (1st

Cir. 1989) (“Neither Napue nor any other decision prohibits a prosecutor from calling witnesses

who will present conflicting stories.”). Convery was equivocal regarding what information he

presented in April 2010, whereas Steffen felt confident about what he had heard from Convery.

Each side was given the opportunity to cross-examine and probe each witness’s memory of

events and the jury was free to determine the credibility of each witness. Lipscomb, 539 F.3d at

40; Casas, 425 F.3d at 45 (“[S]uch conflicts are a matter to be explored on cross-examination . . .

and the credibility of each account is for the jury to determine.”). Here, the Government’s

decision to introduce testimony from witnesses whose recollections differed was not evidence of

prosecutorial misconduct.

               5.     Inducement of a Witness to Place Defendant Fabian at Meetings

       In one sentence in their memorandum in support of a new trial, Defendants claim that the

Government improperly sought testimony from Barrigar regarding Defendant Fabian’s

attendance at meetings the Government knew Defendant Fabian did not or could not have

attended. [ECF No. 484 at 50]. The Government notes that “Mr. Barrigar was always clear that

he was uncertain as to his memory,” signaling to the jury that they would need to assess his

credibility for themselves. See [ECF No. 497 at 56 (citing 6/22/16 Tr. at 21:12–14 (Barrigar

stating, “I don’t know for sure” when asked if Defendant Fabian was in a meeting))]. During the

Government’s direct examination, Barrigar said he believed Defendant Fabian was present at an

August 14, 2007 meeting, but his testimony was promptly corrected on cross examination when

he was reminded that Defendant Fabian had not joined Acclarent until several days after August

14 and therefore could not have been present at the meeting. [6/23/16 Tr. at 164:8–18]; see also

[7/7/16 Tr. at 220:19–20 (stipulation as to Defendant Fabian’s dates of employment)].



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        The Government was not prohibited from asking witnesses whether Defendants were

present at particular meetings, and failing to recall Defendant Fabian’s start date when eliciting

testimony from a single witness does not rise to the level of prosecutorial misconduct. In

questioning Barrigar regarding Defendant Fabian’s attendance at these meetings, the

Government’s conduct, even if liberally construed as misconduct, did not rise to the level of a

“‘particularly egregious error[]’ . . . that ‘seriously affect[ed] that fairness, integrity or public

reputation of judicial proceedings.’” United States v. Hodge-Balwing, 952 F.2d 607, 611 (1st

Cir. 1991) (quoting United States v. Young, 470 U.S. 1, 15 (1985); see also United States v.

Gentles, 619 F.3d 75, 81 (1st Cir. 2010) (holding that “misconduct alone is insufficient to reverse

a conviction absent a showing of prejudice”).

                6.      Evidence Regarding Acclarent Trade Show Booth

        Defendants’ final asserted ground for a new trial is the Government’s decision to elicit

testimony regarding Acclarent’s use of a 2008 trade show booth that was designated for

physicians working internationally to promote the Stratus for off-label use to U.S.-based

physicians. [ECF No. 484 at 50–51]. Defendants claim that the Government improperly used

this testimony to suggest that this promotion was improper despite the FDA’s position that

promotion to physicians practicing outside of the United States regarding uses approved outside

of the United States is permissible. [Id. at 50–51]. The Government says that the testimony

regarding the trade show booth was used to prove that physicians based in the United States

“were redirected to the [international] booth for a demonstration about an unapproved use, rather

than instructed about the on-label use at the US booth.” [ECF No. 497 at 57].

        In support of their position, Defendants cite to a declaration from their expert, Jeffrey

Shapiro, regarding the FDA’s position on marketing within the United States for uses that are



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only approved internationally. [ECF No. 484 at 51; ECF No. 485-1 (Shapiro Declaration)]. As

the Government notes, however, prior to trial the Government identified an inconsistency in

Shapiro’s position by citing a 1997 article in which he wrote that “if a device is cleared or

approved in this country for one use, it cannot be displayed at trade shows for another use that is

only approved abroad.” [ECF No. 497 at 57 n.65 (quoting Shapiro, Jeffrey K., Displaying

Investigational and Unapproved Medical Devices According to FDA Policy at 4, Medical Device

& Diagnostic Industry (Oct. 1997)]. Defendants cite no support for their statements regarding

the FDA’s position beyond Mr. Shapiro’s declaration. [ECF No. 484 at 51]. Shapiro’s

declaration, in turn, cites his experience and a 2016 conversation with an FDA employee, but the

record of that conversation does not address the FDA’s position regarding the off-label

promotion of a product that already has an FDA-approved use, or the FDA’s position regarding

directing U.S.-based physicians to a booth that is promoting off-label uses. See [ECF No. 485-1

at 11–12, 41]. Given the Government’s purpose in eliciting this testimony—demonstrating that

Acclarent employees directed U.S. physicians to a booth at which they could learn about off-

label uses—the Government’s use of this testimony was not improper. See [6/10/16 Tr. at

56:19–25 (Vanderkarr testimony regarding directing individuals to the international booth for

off-label questions)]. Taken together, the actions of the Government concerning the booth did

not rise to the level of misconduct as alleged by Defendants.

               7.      Summary

       In conclusion, even assuming misconduct occurred, using the First Circuit’s analysis in

United States v. Robinson, the majority of the factors weigh in favor of a finding that Defendants

were not prejudiced due to the minor nature of any infractions, the curative instructions provided

by the Court, and the strength of the evidence against Defendants. 473 F.3d at 398. Even when



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viewed cumulatively, these purported incidents of misconduct were unlikely to have had an

“impact on the jury sufficient to affect the trial’s outcome.” Wihbey, 75 F.3d at 773. “[T]he

remedy of a new trial is rarely used; it is warranted only where there would be a miscarriage of

justice or where the evidence preponderates heavily against the verdict.” Casas, 425 F.3d at 39

(quoting United States v. Rodríguez-De Jesús, 202 F.3d 482, 486 (1st Cir. 2000)). As those

exceptions are not present in this case, Defendants’ motion for a new trial, [ECF No. 437], is

DENIED.

V.     CONCLUSION

       Accordingly, for the reasons explained above, Defendants’ motion for acquittal or a new

trial, [ECF No. 437], is DENIED.

       SO ORDERED.


September 14, 2020                                          /s/ Allison D. Burroughs
                                                            ALLISON D. BURROUGHS
                                                            U.S. DISTRICT JUDGE




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